Case 2:20-cv-01068-FLA-PVC    Document 12-2   Filed 02/28/20   Page 1 of 110 Page
                                    ID #:61



1    Joshua Briones (SBN 205293)
     jbriones@mintz.com
2    E. Crystal Lopez (SBN 296297)
     eclopez@mintz.com
3    Matthew Novian (SBN 324144)
     mjnovian@mintz.com
4    MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.
     Century Plaza Towers 2029 Century Park East Suite 3100
5    Los Angeles, CA 90067
     Telephone: 310 586 3200
6    Facsimile: 310 586 3202
7    Attorneys for Defendant,
     EF EDUCATION FIRST, INC.
8
9                       UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11
     SHANNON SENSIBAUGH, individually         Case No.: 2:20-cv-01068-MWF-PVC
12   and on behalf of all other similarly
                                              DECLARATION OF MATTHEW
13   situated,
                                              NOVIAN IN SUPPORT OF
14                           Plaintiff,       DEFENDANT EF EDUCATION
                                              FIRST, INC.’S REQUEST FOR
15        vs.                                 JUDICIAL NOTICE IN SUPPORT
16                                            OF MOTION TO STAY THE
     EF EDUCATION FIRST, INC.                 ACTION PENDING BARR V. AAPC
17
                             Defendant.
18                                            Hon. Michael W. Fitzgerald
19                                            Date:       April 6, 2020
20                                            Time:       10:00 a.m.
                                              Dept:       Courtroom 5A
21

22                                            Complaint Filed: February 2, 2020

23

24

25

26

27

28
     DECLARATION OF MATTHEW NOVIAN IN SUPPORT OF DEFENDANT’S REQUEST FOR
                              JUDICIAL NOTICE
Case 2:20-cv-01068-FLA-PVC       Document 12-2    Filed 02/28/20   Page 2 of 110 Page
                                       ID #:62



           I Matthew Novian declare as follows:
1
           1.    I am a member of the state bar, an attorney in the law firm of Mintz
2
     Levin Cohn Ferris Glovsky and Popeo PC, counsel for Defendant EF Education
3
     First, Inc. (“EF”) in the above captioned and numbered action, and have personal
4
     knowledge of the matters set forth in this declaration.
5
           2.    Attached hereto as Exhibit A is a true and correct copy of an February
6
     7, 2020 Order Granting a Stay in Wright v. Exp Realty, LLC, 6:18-cv-1851, Dkt. 96
7
     (M.D. Fla. Feb. 7, 2020).
8
           3.    Attached hereto as Exhibit B is a true and correct copy of the First
9
     Amended Complaint filed by American Association of Political Consultants in
10
     American Association of Political Consultants Inc. v. Sessions, No. 5:16-CV-252-
11
     D, Dkt. 18 (E.D. N.C. Aug. 5, 2016).
12
           4.    Attached hereto as Exhibit C is a true and correct copy of a
13
     Memorandum of Law in Support of American Association of Political Consultants,
14
     Inc. Response in Opposition to Cross Motion for Summary Judgment in American
15
     Association of Political Consultants Inc. v. Sessions, No. 5:16-CV-252-D, Dkt. 36
16
     (E.D. N.C. July 5, 2017).
17
           5.    Attached hereto as Exhibit D is a true and correct copy the Supreme
18
     Court Brief of Respondents AAPC, Inc., in Barr v. AAPC, No. 19-511 (filed
19
     December 4, 2019).
20
           6.    Attached hereto as Exhibit E is a true and correct copy of the Question
21
     Presented in Barr v. AAPC, 19-631 (Cert. Granted January 10, 2020, Oral
22
     Argument April 22, 2020)
23
           7.    Attached hereto as Exhibit F is a true and correct copy a Stipulation and
24
     Order to Adjourn Case Management Conference, Vacate Case Management
25
     Statement Deadline, and Stay Case Pending Decision in Facebook v. Duguid in
26
     Brickman v. Facebook Inc., 3:16-cv-00751-WHO, Dkt. 127 (N.D. Cal. Jan. 30,
27

28
     DECLARATION OF MATTHEW NOVIAN IN SUPPORT OF DEFENDANT’S REQUEST FOR
                              JUDICIAL NOTICE
Case 2:20-cv-01068-FLA-PVC      Document 12-2     Filed 02/28/20   Page 3 of 110 Page
                                      ID #:63



1    2020).
2          8.    Attached hereto as Exhibit G is a true and correct copy of the Supreme
3    Court Docket in Facebook v. Duguid, 19-511.
4          9.    Attached hereto as Exhibit H is a true and correct copy of Appellant’s
5    Petition for Cert. in Charter Communications Inc. v. Gallion, pending, No. 19-575
6    (December 1, 2019).
7          10.   Attached hereto as Exhibit I is a true and correct copy of the Supreme
8    Court’s Order List: 589 U.S., Monday January 27, 2020, Certiorari – Summary
9    Disposition.
10        I downloaded the documents attached as Exhibits A through I from the
11   respective U.S. District Courts’ Official Court Electronic Document Filing System
12   or from the respective dockets of the Supreme Court of the United States.
13
           I declare under penalty of perjury that the foregoing is true and correct.
14
     Executed this 28th day of February, 2020 at Los Angeles, California.
15

16
                                                  _____________________________
17                                                Matthew Novian
18

19

20

21

22

23

24

25

26

27

28
     DECLARATION OF MATTHEW NOVIAN IN SUPPORT OF DEFENDANT’S REQUEST FOR
                              JUDICIAL NOTICE
Case 2:20-cv-01068-FLA-PVC   Document 12-2   Filed 02/28/20   Page 4 of 110 Page
                                   ID #:64




             EXHIBIT A
Case 2:20-cv-01068-FLA-PVC          Document 12-2     Filed 02/28/20     Page 5 of 110 Page
                                          ID #:65



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


 BRUCE WRIGHT, JORGE VALDES
 and EDWIN DIAZ,

                      Plaintiffs,

 v.                                                      Case No: 6:18-cv-1851-Orl-40EJK

 EXP REALTY, LLC,

                      Defendant.
                                           /

                                           ORDER

        This cause comes before the Court on Defendant’s Motion to Stay Proceedings

 (Doc. 94), filed January 22, 2020. On February 5, 2020, Plaintiffs responded in opposition.

 (Doc. 96). Upon consideration, Defendant’s motion is due to be granted.

 I.     BACKGROUND

        Plaintiffs initiated this action on October 30, 2018, and filed their Amended

 Complaint on January 24, 2019 (Doc. 30), seeking recovery against Defendant under the

 Telephone Consumer Protection Act (“TCPA”). On October 25, 2019, Plaintiffs filed a

 Motion for Class Certification (Doc. 68), in an attempt to address what they describe as a

 “pervasive problem emanating from the real estate industry.” (Id.). Plaintiffs argue that

 real estate brokers are violating the TCPA by allowing realtors to: “(1) purchase leads lists

 of consumers with whom the realtors and the brokerages have no relationship and (2)

 repeatedly cold calling them to solicit real estate listings using calling platforms that

 include the ability to autodial and transmit prerecorded voice messages . . . .” (Id.).
Case 2:20-cv-01068-FLA-PVC          Document 12-2        Filed 02/28/20     Page 6 of 110 Page
                                          ID #:66



        Defendant now moves to stay these proceedings pending the Supreme Court’s

 decision in William P. Barr v. Am. Ass’n Political Consultants Inc., et al., Case No. 19-

 631. (Doc. 94).

 II.    DISCUSSION

        District courts have broad discretion to stay proceedings. Clinton v. Jones,

 520 U.S. 681, 706 (1997). Nevertheless, staying a matter is an extraordinary measure

 that should only be employed to further the ends of justice, and the district court should

 resolve any doubts against issuing a stay. See Bank of Am., N.A. v. Sullivan, No. 8:13-

 CV-385, 2013 WL 2285079, at *2 (M.D. Fla. May 23, 2013).

        Defendant asks the Court to stay proceedings pending the Supreme Court’s

 decision in Barr v. Am. Ass’n Political Consultants because it has the “potential to moot

 this action, as the Supreme Court is reviewing whether the statute on which Plaintiff relies

 – the TCPA – is constitutional.” (Doc. 94, p. 1). Plaintiff argues that “[s]imply because eXp

 hopes the Supreme Court will overturn the Fourth Circuit’s decision—and change clear

 Eleventh Circuit law—does not warrant a stay pending the decision in Barr.” (Doc. 97, p.

 1).

        The Court believes that any proceedings before the Supreme Court issues

 guidance in the upcoming Barr v. Am. Ass’n will be—among other things—a waste of

 judicial resources and a waste of the parties’ time and energy. Additionally, “[T]he

 decision to grant a stay . . . is generally left to the sound discretion of district courts.” Ryan

 v. Gonzales, 568 U.S. 57, 74 (2013) (internal quotations and citations omitted).

 III.   CONCLUSION

        Accordingly, it is ORDERED AND ADJUDGED that:




                                                 2
Case 2:20-cv-01068-FLA-PVC         Document 12-2     Filed 02/28/20   Page 7 of 110 Page
                                         ID #:67



              1.        Defendant’s Motion to Stay Proceedings (Doc. 94) is GRANTED;

              2.        On or before Friday, March 13, 2020, the parties shall provide the

              Court with a written status report detailing the upcoming Supreme Court oral

              argument schedule and/or any updates in the Supreme Court’s case and

              decision.

       DONE AND ORDERED in Orlando, Florida on February 7, 2020.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




                                              3
Case 2:20-cv-01068-FLA-PVC   Document 12-2   Filed 02/28/20   Page 8 of 110 Page
                                   ID #:68




             EXHIBIT B
Case 2:20-cv-01068-FLA-PVC           Document 12-2        Filed 02/28/20         Page 9 of 110 Page
                                           ID #:69



                      UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF NORTH CAROLINA –WESTERN DIVISION

 AMERICAN ASSOCIATION OF                      )
 POLITICAL CONSULTANTS, INC.,                 )
                                              )
 DEMOCRATIC PARTY OF OREGON, INC., )
                                              )
 PUBLIC POLICY POLLING, LLC,                  )
                                              )
 TEA PARTY FORWARD PAC, and                   )               Civil Action No. 5:16-cv-00252-D
                                              )
 WASHINGTON STATE DEMOCRATIC                  )
 CENTRAL COMMITTEE,                           )
                                              )
                     Plaintiffs               )
                                              )
 vs.                                          )
                                              )
 LORETTA LYNCH, in her official capacity      )
 as Attorney General of the United States and )
                                              )
 FEDERAL COMMUNICATIONS                       )
 COMMISSION, a federal agency,                )
                                              )
                     Defendants.              )
 _________________________________________ )


                               FIRST AMENDED COMPLAINT

        COMES NOW American Association of Political Consultants, Inc. (“AAPC”),

 Democratic Party of Oregon, Inc. (“DPO”), Public Policy Polling, LLC (“PPP”), Tea Party

 Forward PAC (“TPF”), and Washington State Democratic Central Committee (“WSDCC”)

 (collectively “Plaintiffs”) by and through counsel, and allege the following:

 I.     NATURE OF THE CASE

        1.      This is a civil action wherein Plaintiffs pray for declaratory judgment as well as

 preliminary and permanent injunctions to restrain Defendants from acting under color of law to




             Case 5:16-cv-00252-D Document 18 Filed 08/05/16 Page 1 of 16
Case 2:20-cv-01068-FLA-PVC            Document 12-2         Filed 02/28/20          Page 10 of 110 Page
                                            ID #:70



 deprive Plaintiffs of rights secured to them by the First Amendment to the United States

 Constitution.

         2.      Specifically, Plaintiffs allege that the ban on certain calls to cell phones in the

 Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227(b)(1)(A)(iii) (hereinafter the

 “cell phone call ban”), is an unconstitutional violation of their First Amendment rights because it

 is content-based and cannot withstand strict scrutiny.

         3.      Congress and the Federal Communications Commission (“FCC”) have shown that

 they intend to continue to create content-based exemptions to the cell phone call ban based both

 on the content of the speech involved and the identity of certain favored speakers. The TCPA

 itself provides the FCC the power to do this in the future. See infra ¶ 26. This history and the

 FCC and Congress’ demonstrated ability and intent to apply the cell phone call ban in a content-

 based way shows that the cell phone call ban is unconstitutional.

         4.      This lawsuit is a challenge to a federal statute, as it is content-based and regulates

 Plaintiffs’ fully-protected, political speech. This is not a challenge to FCC orders or regulations

 promulgated under that statute.

  II.    JURISDICTION

         5.      Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. § 1331.

 III.    VENUE

         6.      Venue lies with this Court pursuant to 28 U.S.C. § 1391(e)(1)(C) because a

 plaintiff resides in this district and this case does not involve real property.

 IV.     AUTHORITY FOR RELIEF

         7.      Authority for declaratory relief sought by Plaintiffs is conferred upon this Court

 by 28 U.S.C. §§ 2201 and 2202, and by Fed. R. Civ. P. 57.




                                          2
              Case 5:16-cv-00252-D Document 18 Filed 08/05/16 Page 2 of 16
Case 2:20-cv-01068-FLA-PVC               Document 12-2            Filed 02/28/20        Page 11 of 110 Page
                                               ID #:71



 V.      PARTIES

         8.       Plaintiff AAPC is a bipartisan, nonprofit association of political professionals

 located in McLean, Virginia and organized under § 501(c)(6) of the Internal Revenue Code

 (“IRC”). AAPC provides education for its members and advocates for the protection of political

 free speech. AAPC members include political fundraisers, organizers, and persons who conduct

 and analyze political polls, i.e. political pollsters and opinion researchers. AAPC members make

 calls to persons on their cell phones to solicit political donations and to advise on political and

 governmental issues. AAPC members would make these calls to persons who did not provide

 prior express consent to them using an automatic telephone dialing system (“ATDS”), artificial

 or prerecorded voice but for the cell phone call ban and the credible threat and potential for

 prosecution by the federal government, states, or private persons or classes of persons1.

         9.       Plaintiff DPO is located in Portland, Oregon and organized as a tax-exempt

 nonprofit organization under § 527 of the IRC. DPO works to promote the interests of the

 Democratic Party in the State of Oregon including coordinating, organizing and electing

 Democratic candidates.         DPO makes calls to registered Democratic and progressive non-

 affiliated voters on their cell phones to advise on political and governmental issues, give voters

 critical information to help them with the voting process, encourage voters to return their ballots

 by deadlines and vote for Democratic candidates, and solicit political donations. DPO would

 make these calls to persons who did not provide prior express consent to it using an ATDS,

 artificial or prerecorded voice but for the cell phone call ban and the credible threat and potential

 for prosecution by the federal government, states, or private persons or classes of persons.


 1
   Indeed, our sitting President and a major political candidate in the current presidential race are or have been
 defendants in TCPA lawsuits seeking class action status. See Shamblin v. Obama for Am., No. 8:13-cv-2428, 2015
 U.S. Dist. Lexis 54849, *18 (M.D. Fla. Apr. 27, 2015). See also Thorne v. Donald J. Trump for President, Inc., No.
 1:16-cv-4603 (N.D. Ill. Apr. 25, 2016).


                                          3
              Case 5:16-cv-00252-D Document 18 Filed 08/05/16 Page 3 of 16
Case 2:20-cv-01068-FLA-PVC          Document 12-2        Filed 02/28/20      Page 12 of 110 Page
                                          ID #:72



        10.      Plaintiff PPP is a limited liability for-profit company located in Raleigh, North

 Carolina. PPP measures and tracks public opinion on candidates, campaigns, and other political

 issues with automated telephone surveys. PPP makes calls to persons on their cell phones on

 behalf of politicians, political organizations, unions, consultants, and other organizations. PPP

 would make these calls to persons who did not provide prior express consent to it using an

 ATDS, artificial or prerecorded voice but for the cell phone call ban and the credible threat and

 potential for prosecution by the federal government, states, or private persons or classes of

 persons.

        11.      Plaintiff TPF is located in Alexandria, Virginia and organized as a tax-exempt

 nonprofit organization under § 527 of the IRC. TPF works to promote the interests of the Tea

 Party by reforming political parties and government to advance the core principles of the

 Founding Fathers, recruiting Americans who share that same vision, and encouraging grassroots

 operations to vote and elect candidates who represent these ideals. TPF makes calls to potential

 voters on their cell phones to solicit political donations and advise on political and governmental

 issues. TPF would make these calls to persons who did not provide prior express consent to it

 using an ATDS, artificial or prerecorded voice but for the cell phone call ban and the credible

 threat and potential for prosecution by the federal government, states, or private persons or

 classes of persons.

        12.      Plaintiff WSDCC is the Democratic Party in the State of Washington and is

 located in Seattle, Washington. WSDCC is organized under § 527 of the IRC. WSDCC works

 to elect Democrats, uphold Democratic values, and support Democrats across the state.

 WSDCC members include elected officials, candidates for office, activists, and voters. WSDCC

 makes calls to registered voters on their cell phones to advise on political and governmental




                                          4
              Case 5:16-cv-00252-D Document 18 Filed 08/05/16 Page 4 of 16
Case 2:20-cv-01068-FLA-PVC           Document 12-2         Filed 02/28/20      Page 13 of 110 Page
                                           ID #:73



 issues and to solicit political donations. WSDCC would make these calls to persons who did not

 provide prior express consent to it using an ATDS, artificial or prerecorded voice but for the cell

 phone call ban and the credible threat and potential for prosecution by the federal government,

 states, or private persons or classes of persons.

        13.      Defendant Loretta Lynch (“Attorney General”) heads the United States

 Department of Justice (“DOJ”) which is the agency in the United States government responsible

 for enforcement of federal law. In her official capacity as Attorney General of the United States,

 she enforces the law complained of in this action. Plaintiffs sue her in her official capacity.

        14.      Defendant FCC is a part of the executive branch of the United States government

 responsible for promulgation of regulations under the TCPA and enforcement of its terms. 47

 U.S.C. § 227(b)(2); 47 U.S.C. § 503(b).

 VI.    STANDING

        15.      Plaintiff AAPC has Article III standing as an organization to bring suit on behalf

 of its members. See revised Declaration of Alana Joyce in Support of Standing, attached hereto

 as Exhibit A; see also Friends of the Earth v. Laidlaw Envtl. Servs. Inc., 528 U.S. 167, 181

 (2000); Summers v. Earth Island Inst., 555 U.S. 488, 498 (2009).

        16.      Plaintiff DPO has Article III standing to bring suit as it has a personal stake in the

 outcome of the action. See revised Declaration of Brad Martin in Support of Standing, attached

 hereto as Exhibit B; see also Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).

        17.      Plaintiff PPP has Article III standing to bring suit as it has a personal stake in the

 outcome of the action.      See revised Declaration of Dean Debnam in Support of Standing,

 attached hereto as Exhibit C; see also Lujan, 504 U.S. at 560.




                                          5
              Case 5:16-cv-00252-D Document 18 Filed 08/05/16 Page 5 of 16
Case 2:20-cv-01068-FLA-PVC           Document 12-2         Filed 02/28/20      Page 14 of 110 Page
                                           ID #:74



        18.      Plaintiff TPF has Article III standing to bring suit as it has a personal stake in the

 outcome of the action. See revised Declaration of Niger Innis in Support of Standing, attached

 hereto as Exhibit D; see also Lujan, 504 U.S. at 560.

        19.      Plaintiff WSDCC has Article III standing to bring suit as it has a personal stake in

 the outcome of the action. See revised Declaration of Karen Deal in Support of Standing,

 attached hereto as Exhibit E; see also Lujan, 504 U.S. at 560.

  VII. STATEMENT OF FACTS

        20.      Congress passed the TCPA in 1991 as Pub. L. No. 102-243, 105 Stat. 2394

 (codified at 47 U.S.C. § 227) to protect telephone subscribers’ privacy rights in connection with

 commercial telephone solicitations.

        21.      Congress instructed the FCC to account for the “free speech protections embodied

 in the First Amendment of the Constitution” when considering the impact of any restrictions on

 noncommercial communications. TCPA, Pub. L. 102-243, § 2(13).

        22.      The TCPA states:

        It shall be unlawful for any person within the United States, or any person outside
        the United States if the recipient is within the United States—

        (A) to make any call (other than a call made for emergency purposes or made
        with the prior express consent of the called party) using any automatic telephone
        dialing system or an artificial or prerecorded voice--
        …

        (iii) to any telephone number assigned to a paging service, cellular telephone
        service, specialized mobile radio service, or other radio common carrier service,
        or any service for which the called party is charged for the call, unless such call is
        made solely to collect a debt owed to or guaranteed by the United States;

 47 U.S.C. § 227(b)(1)(A)(iii); 47 C.F.R. § 64.1200(a)(1)(iii) (the “cell phone call ban”).




                                          6
              Case 5:16-cv-00252-D Document 18 Filed 08/05/16 Page 6 of 16
Case 2:20-cv-01068-FLA-PVC            Document 12-2       Filed 02/28/20      Page 15 of 110 Page
                                            ID #:75



          23.      The TCPA regulations define “emergency purposes” as “calls made necessary in

 any situation affecting the health and safety of consumers.”         Id. at (f)(4) (hereinafter the

 “emergency exemption”).

          24.      The TCPA defines “automatic telephone dialing system” (“ATDS”) as

 “equipment which has the capacity to store or produce telephone numbers to be called, using a

 random or sequential number generator; and to dial such numbers.” 47 U.S.C. § 227(a)(1).

          25.      The FCC, the states, through their attorneys general or otherwise, and private

 persons, including classes of persons, can sue for actual or statutory damages for violations of

 the cell phone call ban for $500 or more per telephone call. Id. at (b)(3), (g); 47 U.S.C. § 503.

          26.      The TCPA provides that the FCC “shall prescribe regulations to implement the

 requirements of this subsection ….” 47 U.S.C. § 227(b)(2).

          27.      In the 1992 Order regarding the implementation of the TCPA, the FCC stated the

 purpose of its regulations under this subsection:

          This R&O amends part 64 of the Commission’s rules by adding § 64.1200 to
          restrict the use of automatic telephone dialing systems and artificial or
          prerecorded voice messages for telemarketing purposes or for transmitting
          unsolicited telephone facsimile advertisements. The rules require that persons or
          entities making telephone solicitations establish procedures to protect residential
          subscribers from unwanted solicitations, and set forth exemptions to certain
          prohibitions under this part …. The rules are intended to impose reasonable
          restrictions on autodialed or prerecorded voice telephone calls consistent with
          considerations regarding public health and safety and commercial speech and
          trade, and to allow consumers to avoid unwanted telephone solicitations without
          unduly limiting legitimate telemarketing practices.

 57 Fed. Reg. 48333 (Oct. 23, 1992).

          28.      Since 1992, the FCC and Congress have passed at least six exemptions to the cell

 phone call ban which apply based on the identity of the caller and/or the content of the exempted

 calls.




                                            7
                Case 5:16-cv-00252-D Document 18 Filed 08/05/16 Page 7 of 16
Case 2:20-cv-01068-FLA-PVC         Document 12-2        Filed 02/28/20     Page 16 of 110 Page
                                         ID #:76



        29.      In 2012, the FCC exempted from the cell phone call ban “autodialed or

 prerecorded message calls by a wireless carrier to its customer when the customer is not

 charged.” 77 Fed. Reg. 34233, 34235 (June 11, 2012) (hereinafter referred to as the “wireless

 exemption”).

        30.      In 2014, the FCC exempted from the cell phone call ban prerecorded and ATDS

 calls for “package delivery notifications to consumers’ wireless phones either by voice or text …

 so long as those calls are not charged to the consumer recipient, including not being counted

 against the consumer’s plan limits on minutes or texts, and comply with the conditions ….” In

 the Matter of Cargo Airline Association Petition for Expedited Declaratory Ruling, 29 FCC Rcd

 3432, 3439 (Mar. 27, 2014) (hereinafter referred to as the “package delivery exemption”).

        31.      In 2014, the FCC exempted from the cell phone call ban prerecorded and ATDS

 “non-telemarketing voice calls or text messages to wireless numbers … [that] rely on a

 representation from an intermediary that they have obtained the requisite consent from the

 consumer.” In the Matter of GroupMe, Inc. / Skype Communications S.A.R.L., 29 FCC Rcd

 3442, 3444 (Mar. 27, 2014) (hereinafter referred to as the “intermediary consent exemption”).

        32.      In 2015, the FCC exempted from the cell phone call ban prerecorded and ATDS

 “non-telemarketing, healthcare calls that are not charged to the called party” and “for which

 there is exigency and that have a healthcare treatment purpose ….” In re Rules and Regulations

 Implementing the Tel. Consumer Prot. Act of 1991 et al., 30 FCC Rcd 7961, 8930-31 (July 10,

 2015) (hereinafter referred to as the “HIPAA exemption”).

        33.      In 2015, the FCC exempted from the cell phone call ban prerecorded and ATDS

 calls regarding “(1) ‘transactions and events that suggest a risk of fraud or identity theft;

 (2) possible breaches of the security of customers’ personal information; (3) steps consumers can




                                          8
              Case 5:16-cv-00252-D Document 18 Filed 08/05/16 Page 8 of 16
Case 2:20-cv-01068-FLA-PVC             Document 12-2          Filed 02/28/20        Page 17 of 110 Page
                                             ID #:77



 take to prevent or remedy harm caused by data security breaches; and (4) actions needed to

 arrange for receipt of pending money transfers.’” Id. at 8023 (hereinafter referred to as the “bank

 and financial exemption”)

         34.      In 2015, Congress exempted from the cell phone call ban prerecorded and ATDS

 calls “made solely to collect a debt owed to or guaranteed by the United States”. TCPA, Pub. L.

 No. 114-74, § 301(a) 129 Stat. 588 (2015) (amending 47 U.S.C. § 227(b)(1)(A)(iii); 47 C.F.R.

 § 64.1200(a)(1)(iii)) (hereinafter referred to as the “debt collection exemption”).

         35.      In 2016, the FCC exempted from the cell phone call ban prerecorded and ATDS

 calls from federal government officials conducting official business. In re Rules and Regulations

 Implementing the Tel. Consumer Prot. Act of 1991 et al., CG Docket No. 02-278, July 5, 2016 at

 ¶ 12 (hereinafter referred to as the “official federal government business exemption2”).

                                                COUNT I
                  (The Cell Phone Call Ban is a Content-based Restriction on Speech)

         36.      Plaintiffs incorporate by reference the allegations in paragraphs one through 35.

         37.      The First Amendment reflects a “profound national commitment” to the principle

 that “debate on public issues should be uninhibited, robust, and wide-open,” and has

 “consistently commented on the central importance of protecting speech on public issues.” Boos

 v. Barry, 485 U.S. 312, 318 (1998).

         38.      “[P]olitical speech is at the very core of the First Amendment.” Carey v. Fed.

 Elec. Comm’n., 791 F. Supp. 2d 121, 133-34 (D.D.C. 2011) (citing Buckley v. Valeo, 424 U.S. 1,

 39 (1976)). “The First Amendment affords the broadest protection to such political expression in

 order ‘to assure the unfettered interchange of ideas for the bringing about of political and social

 changes desired by people.’” McIntyre v. Ohio Elec. Comm’n., 514 U.S. 334, 346 (1995).

 2
       The       FCC      issued    the    full   text    of    its   Declaratory  Ruling,   available   at:
 http://transition.fcc.gov/Daily_Releases/Daily_Business/2016/db0706/FCC-16-72A1.pdf.


                                           9
               Case 5:16-cv-00252-D Document 18 Filed 08/05/16 Page 9 of 16
Case 2:20-cv-01068-FLA-PVC           Document 12-2        Filed 02/28/20     Page 18 of 110 Page
                                           ID #:78



        39.     The First Amendment to the United States Constitution prohibits discrimination as

 to the content of speech or the identity of the speaker. Reed v. Town of Gilbert, ___ U.S. ___,

 135 S. Ct. 2218, 2227 (2015) (“Government regulation of speech is content-based if a law

 applies to particular speech because of the topic discussed or the idea or message expressed.”).

        40.     The debt collection exemption created by Congress and the FCC’s exemptions are

 based on the content of the speech, which includes the identity of the speaker. U.S. v. Playboy

 Entm't Group, 529 U.S. 803, 812 (2000). Content-based restrictions of protected speech are

 subject to strict scrutiny. Cahaly v. Larosa, 796 F.3d 399, 405 (4th Cir. 2015) (“As a content-

 based regulation of speech, the anti-robocall statute is subject to strict scrutiny … [u]nder this

 standard, the government must prove ‘that the restriction furthers a compelling interest and is

 narrowly tailored to achieve that interest.’”); Riley v. Nat’l Fed. of the Blind, 487 U.S. 781, 800

 (1988) (“These more narrowly tailored rules are in keeping with the First Amendment directive

 that government not dictate the content of speech absent compelling necessity, and then, only by

 means precisely tailored.”)

        41.     The Defendants therefore bear the burden of demonstrating that the cell phone call

 ban is narrowly tailored to further a compelling interest which it is entitled to protect using the

 least restrictive means available. Secr’y of the State of Md. v. Joseph H. Munson Co., 467 U.S.

 947, 959-61 (1984); Vill. of Schaumburg v. Citizens for a Better Env’t., 444 U.S. 620, 636-37

 (1980). The cell phone call ban does not satisfy strict scrutiny.

        42.     The TCPA restricts Plaintiffs’ fully-protected, political speech whereas the FCC

 permits prerecorded and ATDS calls or text messages to cell phones (or any service for which

 the called party is charged) if made pursuant to the wireless exemption. See 77 Fed. Reg. at

 34235. By favoring commercial speech over Plaintiffs’ political speech, the cell phone call ban




                                       10
           Case 5:16-cv-00252-D Document 18 Filed 08/05/16 Page 10 of 16
Case 2:20-cv-01068-FLA-PVC          Document 12-2         Filed 02/28/20     Page 19 of 110 Page
                                          ID #:79



 violates the constitutional rights of these political organizations. See Metromedia, Inc. v. City of

 San Diego, 453 U.S. 490, 513 (1980).

           43.   The TCPA restricts Plaintiffs’ fully-protected, political speech whereas the FCC

 permits prerecorded and ATDS calls or text messages to cell phones (or any service for which

 the called party is charged) if made pursuant to the package delivery exemption. See 29 FCC

 Rcd at 3435. By favoring commercial speech over the noncommercial political speech of

 Plaintiffs, the cell phone call ban violates the constitutional rights of these political

 organizations. See Metromedia, 453 U.S. at 513.

           44.   The TCPA restricts Plaintiffs’ fully-protected, political speech whereas the FCC

 permits prerecorded and ATDS calls or text messages to cell phones (or any service for which

 the called party is charged) if made pursuant to the intermediary consent exemption. See 29 FCC

 Rcd at 3444. By favoring this speech over the noncommercial political speech of Plaintiffs, the

 cell phone call ban violates the constitutional rights of these political organizations.        See

 Metromedia, 453 U.S. at 513.

           45.   The TCPA restricts Plaintiffs’ fully-protected, political speech whereas the FCC

 permits prerecorded and ATDS calls or text messages to cell phones (or any service for which

 the called party is charged) if made pursuant to the HIPAA exemption. See 30 FCC Rcd at 8031.

 By favoring this speech over the noncommercial political speech of Plaintiffs, the cell phone call

 ban violates the constitutional rights of these political organizations. See Metromedia, 453 U.S.

 at 513.

           46.   The TCPA restricts Plaintiffs’ fully-protected, political speech whereas the FCC

 permits prerecorded and ATDS calls or text messages to cell phones (or any service for which

 the called party is charged) if made pursuant to the bank and financial exemption. See 30 FCC




                                         11
             Case 5:16-cv-00252-D Document 18 Filed 08/05/16 Page 11 of 16
Case 2:20-cv-01068-FLA-PVC          Document 12-2        Filed 02/28/20     Page 20 of 110 Page
                                          ID #:80



 Rcd at 8024-28. By favoring commercial speech over the noncommercial political speech of

 Plaintiffs, the cell phone call ban violates the constitutional rights of these political

 organizations. See Metromedia, 453 U.S. at 513.

        47.     The TCPA restricts Plaintiffs’ fully-protected, political speech whereas the TCPA

 permits prerecorded and ATDS commercial calls or text messages to cell phones (or any service

 for which the called party is charged) if made pursuant to the debt collection exemption. 47

 U.S.C. § 227(b)(1)(A)(iii); 47 C.F.R. § 64.1200(a)(1)(iii). By favoring commercial speech over

 the noncommercial political speech of Plaintiffs, the cell phone call ban violates the

 constitutional rights of these political organizations. See Metromedia, 453 U.S. at 513.

        48.     The TCPA restricts Plaintiffs’ fully-protected, political speech whereas the FCC

 permits prerecorded and ATDS commercial calls or text messages to cell phones (or any service

 for which the called party is charged) if made pursuant to the official federal government

 business exemption. In re Rules and Regulations Implementing the Tel. Consumer Prot. Act of

 1991 et al., CG Docket No. 02-278, July 5, 2016 at ¶ 12. By favoring federal government

 speech over the noncommercial political speech of Plaintiffs, the cell phone call ban violates the

 constitutional rights of these political organizations. See Metromedia, 453 U.S. at 513.

        49.     The official federal government business exemption causes the cell phone call ban

 to be unconstitutional for two reasons, first, because it is based on the content of the speech

 involved, and second, because it is based on the identity of the speaker. Playboy, 529 U.S. at

 812.

        50.     The cell phone call ban is therefore an unconstitutional content-based restriction

 on Plaintiffs’ fully-protected, political speech in violation of the First Amendment. Police Dep’t

 of Chi. v. Mosley, 408 U.S. 92, 95 (1972) (“[A]bove all else, the First Amendment means that




                                       12
           Case 5:16-cv-00252-D Document 18 Filed 08/05/16 Page 12 of 16
Case 2:20-cv-01068-FLA-PVC           Document 12-2        Filed 02/28/20      Page 21 of 110 Page
                                           ID #:81



 government has no power to restrict expression because of its message, its ideas, its subject

 matter, or its content.”).

                                                COUNT II
                                (The Cell Phone Call Ban is Underinclusive)

         51.     Plaintiffs incorporate by reference the allegations in paragraphs one through 50.

         52.     A law is underinclusive and thus not narrowly tailored “when it discriminates

 against some speakers but not others without a legitimate ‘neutral justification’ for doing so.”

 Nat’l Fed’n of the Blind v. F.T.C., 420 F.3d 331, 345 (4th Cir. 2005) (“Even when the

 government has a compelling interest for restricting speech, it may not seek to further that

 interest by creating arbitrary distinctions among speakers that bear no ‘reasonable fit’ to the

 interest at hand.”).

         53.     An underinclusive statute “raises serious doubts about whether the government is

 in fact pursuing the interest it invokes, rather than disfavoring a particular speaker or viewpoint.”

 Brown v. Entm’t Merchs. Ass’n, 564 U.S. 786, 802 (2011) (holding that a California statute that

 prohibited the sale or rental of “violent video games” to minors violated the First Amendment

 because it was underinclusive and did not preclude minors from having access to violent

 information in other forms).

         54.     The cell phone call ban is underinclusive because it exempts commercial

 prerecorded and ATDS calls or text messages to cell phones (or any service for which the called

 party is charged) if made pursuant to the wireless exemption. See 77 Fed. Reg. at 34235.

         55.     The cell phone call ban is underinclusive because it exempts prerecorded and

 ATDS calls or text messages to cell phones (or any service for which the called party is charged)

 if made pursuant to the package delivery exemption. See 29 FCC Rcd at 3435.




                                       13
           Case 5:16-cv-00252-D Document 18 Filed 08/05/16 Page 13 of 16
Case 2:20-cv-01068-FLA-PVC           Document 12-2      Filed 02/28/20     Page 22 of 110 Page
                                           ID #:82



        56.     The cell phone call ban is underinclusive because it exempts prerecorded and

 ATDS calls or text messages to cell phones (or any service for which the called party is charged)

 if made pursuant to the intermediary consent exemption. See 29 FCC Rcd at 3444.

        57.     The cell phone call ban is underinclusive because it exempts prerecorded and

 ATDS calls or text messages to cell phones (or any service for which the called party is charged)

 if made pursuant to the HIPAA exemption. See 30 FCC Rcd at 8031.

        58.     The cell phone call ban is underinclusive because it exempts prerecorded and

 ATDS calls or text messages to cell phones (or any service for which the called party is charged)

 if made pursuant to the bank and financial exemption. Id. at 8024-28.

        59.     The cell phone call ban is underinclusive because it exempts commercial

 prerecorded and ATDS calls or text messages to cell phones (or any service for which the called

 party is charged) if made pursuant to the debt collection exemption.             See 47 U.S.C.

 § 227(b)(1)(A)(iii); 47 C.F.R. § 64.1200(a)(1)(iii).

        60.     The cell phone call ban is underinclusive because it exempts commercial

 prerecorded and ATDS calls or text messages to cell phones (or any service for which the called

 party is charged) if made pursuant to the official federal government business exemption. See In

 re Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991 et al., CG Docket

 No. 02-278, July 5, 2016 at ¶ 12.

        61.     There is no relation between any legitimate government purpose behind the cell

 phone call ban and the speech banned, regulated, or allowed by it.

        62.     Plaintiffs’ speech is no more harmful than the speech allowed by the content-

 based exemptions to the cell phone call ban.




                                       14
           Case 5:16-cv-00252-D Document 18 Filed 08/05/16 Page 14 of 16
Case 2:20-cv-01068-FLA-PVC            Document 12-2      Filed 02/28/20      Page 23 of 110 Page
                                            ID #:83



         63.     The cell phone call ban is an impermissible means of advancing any legitimate

 interest of Defendants. The cell phone call ban is therefore unconstitutional.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully pray for the following relief and judgment from

 this Court:

         1.      A preliminary injunction enjoining the enforcement of the cell phone call ban by

 Defendants, its agents and employees against these Plaintiffs, and others similarly situated;

         2.      A permanent injunction enjoining the enforcement of the cell phone call ban by

 Defendants, its agents and employees against these Plaintiffs, and others similarly situated;

         3.      A declaratory judgment pursuant to Fed. R. Civ. P. 57 and 28 U.S.C. § 2201 that

 the cell phone call ban on its face is unconstitutional as it violates the First Amendment to the

 United States Constitution;

         4.      An award of nominal damages in the amount of $1.00 as a result of Defendants’

 violation of Plaintiffs’ constitutional rights;

         5.      An order requiring that Defendants pay all costs, interest, and attorneys’ fees as

 may be incurred with this civil action as allowed by law; and

         6.      An order providing such other and further relief as the Court deems just and

 proper and for the purpose of redressing Plaintiffs’ grievances.




                                          15
              Case 5:16-cv-00252-D Document 18 Filed 08/05/16 Page 15 of 16
Case 2:20-cv-01068-FLA-PVC    Document 12-2         Filed 02/28/20   Page 24 of 110 Page
                                    ID #:84



 Dated: August 5, 2016.


                          Respectfully Submitted,

                          /s/ Charles George
                          Charles George, NC #21003
                          Wyrick Robbins Yates & Ponton LLP
                          4101 Lake Boone Trail, Suite 300
                          Raleigh, NC 27607
                          919-781-4000
                          919-781-4865 fax
                          cgeorge@wyrick.com

                          William E. Raney, MO #46954 (pro hac vice)
                          Kellie Mitchell Bubeck, MO #65573 (pro hac vice)
                          Copilevitz & Canter, LLC
                          310 W. 20th Street, Suite 300
                          Kansas City, MO 64108
                          816-472-9000
                          816-472-5000 fax
                          braney@cckc-law.com
                          kmitchell@cckc-law.com

                          ATTORNEYS FOR PLAINTIFFS




                                      16
          Case 5:16-cv-00252-D Document 18 Filed 08/05/16 Page 16 of 16
Case 2:20-cv-01068-FLA-PVC   Document 12-2   Filed 02/28/20   Page 25 of 110 Page
                                   ID #:85




             EXHIBIT C
Case 2:20-cv-01068-FLA-PVC     Document 12-2      Filed 02/28/20   Page 26 of 110 Page
                                     ID #:86




                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

 AMERICAN ASSOCIATION OF                      )
 POLITICAL CONSULTANTS, INC.,                 )
                                              )
 DEMOCRATIC PARTY OF OREGON, INC., )
                                              )
 PUBLIC POLICY POLLING, LLC,                  )
                                              )
 TEA PARTY FORWARD PAC, and                   )      Civil Action No. 5:16-cv-00252-D
                                              )
 WASHINGTON STATE DEMOCRATIC                  )
 CENTRAL COMMITTEE,                           )
                                              )
                     Plaintiffs               )
                                              )
 vs.                                          )
                                              )
 JEFFERSON SESSIONS, in his official capacity )
 as Attorney General of the United States and )
                                              )
 FEDERAL COMMUNICATIONS                       )
 COMMISSION, a federal agency,                )
                                              )
                     Defendants.              )
 _________________________________________ )


   PLAINTIFFS’ RESPONSE AND REPLY TO DEFENDANTS’ MEMORANDUM IN
   OPPOSITION TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT AND IN
    SUPPORT OF DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT




                                          1

          Case 5:16-cv-00252-D Document 36 Filed 07/05/17 Page 1 of 15
Case 2:20-cv-01068-FLA-PVC               Document 12-2           Filed 02/28/20        Page 27 of 110 Page
                                               ID #:87



  I.     INTRODUCTION

         Please consider once more two telephone calls. The first is from the Democratic Party

 urging residents of a given district to vote in the upcoming election. A volunteer makes the call

 using an automatic telephone dialing system (“ATDS”) to a voter, but the volunteer doesn’t know

 that the number called is a cell phone. The second is from a debt collector to a debtor concerning

 a defaulted government-backed mortgage. This call is also placed using an ATDS, and the only

 number available is a cell phone number.

         The first call is banned by the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C.

 § 227(b)(1)(A)(iii) (the “cell phone call ban”). The second call is not.1 The exempt debt collection

 call has a significant effect on the privacy of the recipient, but it seems likely that the first call

 would be more welcomed by the recipient. The TCPA cell phone call ban is therefore a content-

 based restriction of speech, subject to strict scrutiny under the First Amendment. It cannot

 withstand strict scrutiny and is therefore unconstitutional.

 II.     ARGUMENT

         When Congress passed the TCPA, it gave the Federal Communications Commission

 (“FCC”) power to create exemptions to its restrictions, including to the TCPA cell phone call ban.

 Since 1992, the FCC has created seven exemptions to the TCPA cell phone call ban.

         Congress also has the power to create exemptions to the cell phone call ban. It has done

 so, for example by including an exemption for any entity placing calls solely collecting debt owed

 to or guaranteed by the federal government.




 1
  See discussion of Brickman v. Facebook, Inc., 2017 U.S. Dist. LEXIS 11849 (N.D. Cal. Jan. 27, 2017) (“Brickman”)
 and the cell phone call ban debt collection exemption, infra at B1.


                                                        2

             Case 5:16-cv-00252-D Document 36 Filed 07/05/17 Page 2 of 15
Case 2:20-cv-01068-FLA-PVC           Document 12-2         Filed 02/28/20      Page 28 of 110 Page
                                           ID #:88



        By creating this exemption based on the content of the speech, Congress has caused the

 TCPA cell phone call ban to be a content-based restriction of speech. The FCC, in including

 exemptions based on the content of speech and the identity of speakers, has also caused the cell

 phone call ban to be a content-based restriction of speech.

        Further, because Congress and the FCC have the power to create future content-based

 exemptions, the TCPA cell phone call ban cannot be cured of its unconstitutionality by striking

 those exemptions. Congress and the FCC would still have the power, which they have used and

 likely intend to use in the future, to create content-based exemptions. Under this Circuit’s ruling

 in Cahaly v. LaRosa, 796 F.3d 399 (4th Cir. 2015) (“Cahaly”), the cell phone call ban cannot

 withstand strict scrituny and is therefore unconstitutional.

        A.      Defendants cannot distinguish Reed, as it is undisputed that the exemptions
                apply based on the content of speech.

        Defendants attempt to distinguish Reed v. Town of Gilbert, 135 S. Ct. 2218 (2015) (“Reed”)

 by claiming that “the lines drawn by the TCPA in no way resemble the lines drawn by the

 ordinance invalidated in Reed.” Defs.’ Brief at 9. That statute was “riddled” with 23 exemptions

 (here we have seven). Id. The statute also applied different rules based on the content of signs,

 e.g. “political” signs subject to one rule, “ideological” signs to another. Id.

        The TCPA cell phone call ban, Defendants argue, is different because it was designed by

 Congress to protect residential “privacy interests” instead of aesthetic ones. Id. at 10.

        The language of Reed does not tolerate such an argument and gives no indication that its

 analysis hinges on the differences between residential “privacy interests” and “aesthetic interests”.

 Rather, under Reed, if a statute draws distinctions based on the content of the speech regulated, it

 is content-based and thus subject to strict scrutiny. Because the TCPA cell phone call ban draws

 distinctions based on the message a speaker conveys (or the identity of the speaker), and not just

                                                   3

             Case 5:16-cv-00252-D Document 36 Filed 07/05/17 Page 3 of 15
Case 2:20-cv-01068-FLA-PVC          Document 12-2         Filed 02/28/20      Page 29 of 110 Page
                                          ID #:89



 the relationship between the speaker and the recipient, it is a content-based restriction on free

 speech subject to strict scrutiny. Reed at 2227. The purpose behind the statute, of course, is

 relevant to whether the statute passes strict scrutiny—not whether Reed applies or not. Reed noted:

        a clear and firm rule governing content neutrality is an essential means of
        protecting the freedom of speech, even if laws that might seem “entirely
        reasonable” will sometimes be “struck down because of their content-based
        nature.”

 Id. at 2231 (citing City of Ladue v. Gilleo, 512 U.S. 43, 60 (1994) (O’Connor, J., concurring)).

        The rule is the same in this Circuit:

        In evaluating the content neutrality of a sign regulation restricting speech, we focus
        on the Supreme Court’s decision in Reed v. Town of Gilbert, 135 S. Ct. 2218, 192
        L. Ed. 2d 236 (2015). We recently observed that this decision conflicted with, and
        therefore abrogated, our Circuit’s previous formulation for analyzing content
        neutrality, in which we had held that “[t]he government's purpose is the controlling
        consideration.”

 Cent. Radio Co. v. City of Norfolk, 811 F.3d 625, 632 (4th Cir. 2016) (quoting Cahaly at 405).

        Defendants claim “[t]he TCPA restricts only calls made and messages sent without

 consent, see 47 U.S.C. § 227(b)(1)(A) ….” Defs.’ Brief at 11. This is wrong. Defendants’ error

 is the entire point of this lawsuit—the content-based exceptions to the TCPA specified in the

 complaint show that some calls are banned without consent, but some calls from favored speakers

 or with favored content are allowed with or without consumer consent. Hence, the statute is

 content-based.

                  1.   Congress has given the FCC the power to create content-based
                       exemptions.

        The authority granted by Congress to the FCC to create exemptions, including content-

 based exemptions, is found in the TCPA at 47 U.S.C. § 227(b)(2):

        The Commission shall prescribe regulations to implement the requirements of this
        subsection. In implementing the requirements of this subsection, the
        Commission— …

                                                  4

           Case 5:16-cv-00252-D Document 36 Filed 07/05/17 Page 4 of 15
Case 2:20-cv-01068-FLA-PVC            Document 12-2        Filed 02/28/20       Page 30 of 110 Page
                                            ID #:90




            (C) may, by rule or order, exempt from the requirements of paragraph
            (1)(A)(iii) of this subsection calls to a telephone number assigned to a cellular
            telephone service that are not charged to the called party, subject to such
            conditions as the Commission may prescribe as necessary in the interest of the
            privacy rights this section is intended to protect;

 Id.

        Severing the existing exemptions will not prevent the FCC from adopting new content-

 based exemptions in the future.

                2.      The FCC has exercised its power to create content-based exemptions.

        Defendants attempt to argue that the FCC’s content-based exemptions “are not actually

 exemptions at all.” Defs.’ Brief at 14. But whether by FCC order, interpretation, or otherwise,

 some speakers’ calls are exempt based on the speakers’ identity or the content of the calls, and

 some are not. The provisions of the First Amendment are not so easily evaded. Governmental

 restraint on speech need not fall into familiar or traditional patterns to be subject to constitutional

 limitations. Miami Herald Pub. Co., Div. of Knight Newspapers, Inc. v. Tornillo, 418 U.S. 241,

 256 (1974) (citing Grosjean v. American Press Co., 297 U.S. 233, 244-45 (1936)).

        The FCC has created exemptions that favor certain speakers over others, including:

               calls made by wireless carriers in the wireless carrier exemption, see 77 Fed.

                Reg. at 34235;

               calls made by intermediaries in the intermediary consent exemption, see 29

                FCC Rcd at 3444; and

               calls made by federal government officials in the official federal

                government business exemption, see 31 FCC Rcd at 7400.

 Ptfs.’ Brief in Support of Motion for Summ. J., Dkt. 31 (May 19, 2017) (“Ptfs.’ Brief”) at 18.




                                                   5

            Case 5:16-cv-00252-D Document 36 Filed 07/05/17 Page 5 of 15
Case 2:20-cv-01068-FLA-PVC            Document 12-2       Filed 02/28/20     Page 31 of 110 Page
                                            ID #:91



         The FCC has also created exemptions that favor certain messages with certain content over

 others, including:

                package delivery notifications in the package delivery exemption , see 29

                 FCC Rcd at 3439;

                healthcare-related calls in the HIPAA exemption, see 30 FCC Rcd at 8030-

                 31;

                fraud, security and money transfer notifications in the bank and financial

                 exemption, see id. at 8023; and

                official federal government business in the official federal government

                 business exemption, see 31 FCC Rcd at 7400.

 Ptfs.’ Brief at 17.

         There is no reason to believe the FCC will refrain from creating future content-based

 exemptions, by order, interpretation, or otherwise.

                 3.        Congress believes it has the power to create content-based exemptions.

         Congress, similarly, believes it has the power to create content-based exemptions favoring

 certain speakers or messages.

         Despite claims of Defendants, the debt collection exemption is not limited to calls to

 debtors of government or government backed debts. Pub. L. No. 114-74, 129 Stat. 584 (Nov. 2,

 2015) at § 301(a), Brickman at *26.

         Congress knew how to limit the TCPA’s application in some respects to calls to certain

 people. For example, the “established business relationship” is part of an exemption to the national

 “do-not-call” list. It is specifically limited to a relationship between a caller and a specific

 residential subscriber.


                                                   6

            Case 5:16-cv-00252-D Document 36 Filed 07/05/17 Page 6 of 15
Case 2:20-cv-01068-FLA-PVC            Document 12-2         Filed 02/28/20       Page 32 of 110 Page
                                            ID #:92



         The term “established business relationship”, for purposes only of subsection
         (b)(1)(C)(i), shall have the meaning given the term in section 64.1200 of title 47,
         Code of Federal Regulations, as in effect on January 1, 2003, except that--

             (A) such term shall include a relationship between a person or entity and a
             business subscriber subject to the same terms applicable under such section to
             a relationship between a person or entity and a residential subscriber; and

             (B) an established business relationship shall be subject to any time limitation
             established pursuant to paragraph (2)(G)[)].

 47 U.S.C. § 227(a)(2).

         The FCC’s regulation then specifies that an established business relationship means:

         a prior or existing relationship formed by a voluntary two-way communication
         between a person or entity and a residential subscriber with or without an exchange
         of consideration, on the basis of the subscriber's purchase or transaction with the
         entity within the eighteen (18) months immediately preceding the date of the
         telephone call or on the basis of the subscriber's inquiry or application regarding
         products or services offered by the entity within the three months immediately
         preceding the date of the call, which relationship has not been previously terminated
         by either party…

 47 C.F.R. § 64.1200(f)(5) (emphasis added).

         The debt collection exemption contains no such limitation to calls to a specific person (e.g.

 the debtor) and could apply to any call to any person, so long as the call is made solely to collect

 a government or government backed debt, e.g. employment verification, asset location, etc. There

 are likely tens of thousands of companies that issue government backed debt, including small

 business loans, student loans, mortgages, etc. These companies’ collection calls are allowed, while

 other debt collectors’ calls are banned, as are the fully-protected political calls placed by Plaintiffs.

                 4.       Severing the existing exemptions does not cure this problem.

         Severance of the content-based exemptions as Defendants’ argue is not a suitable cure for

 the cell phone call ban’s unconstitutionality. See Defs.’ Brief at 17-20. Severance does not solve




                                                    7

            Case 5:16-cv-00252-D Document 36 Filed 07/05/17 Page 7 of 15
Case 2:20-cv-01068-FLA-PVC            Document 12-2       Filed 02/28/20     Page 33 of 110 Page
                                            ID #:93



 the problem of the FCC and Congress’s existing and actualized ability to create future content-

 based exemptions.

        Congress’s ability to amend the TCPA is ongoing. Congress has amended the TCPA six

 times since it was first passed in 1991, Pub. L. No. 102-243 (Dec. 20, 1991), most recently creating

 the debt collection exemption to the cell phone call ban as part of the Bipartisan Budget Act of

 2015 Pub. L. No. 114-74 (Nov. 2, 2015). As explained, Congress has given the FCC power to

 create future exemptions. See 47 U.S.C. § 227(b)(2).

        Severance of the existing content-based exemptions would not cure the cell phone call

 ban’s unconstitutionality and contradicts long-standing First Amendment jurisprudence that more

 speech, rather than less speech, is the goal of this constitutional protection. See Whitney v. Cal.,

 274 U.S. 357 (1927). “If there be time to expose through discussion the falsehood and fallacies,

 to avert the evil by the processes of education, the remedy to be applied is more speech, not

 enforced silence.” Id. at 377.

        The proper remedy is to allow more speech and speakers by striking the cell phone call ban

 and allowing the FCC or Congress to use other narrowly tailored, or content-neutral, means to

 protect residential privacy.

        B.      Defendants rely on TCPA cases which did not consider its exemptions or are
                otherwise distinguishable.

                1.      Other cases involved challenges to the whole statute, not merely the cell
                        phone call ban.

        Although Defendants rely on some cases which comment on the constitutionality of the

 TCPA, they involved challenges to other sections of the law, predate Reed, or did not consider the

 exemptions to the cell phone call ban involved in this case.

                        a.        Gomez v. Campbell-Ewald Co.



                                                  8

             Case 5:16-cv-00252-D Document 36 Filed 07/05/17 Page 8 of 15
Case 2:20-cv-01068-FLA-PVC           Document 12-2        Filed 02/28/20      Page 34 of 110 Page
                                           ID #:94



        While Gomez v. Campbell-Ewald, 768 F.3d 871 (9th Cir. 2014) ruled the TCPA was a

 reasonable time, place, and manner restriction, the case did not consider the exemptions to the cell

 phone call ban highlighted in this matter. Nor did the case apply the logic of Reed to the TCPA as

 it had not been decided at the time of the 9th Circuit’s decision and because the exemptions were

 not discussed. Id. at 873.

                        b.      Moser v. Fed. Commc’n Comm’n.

        Moser v. Fed. Commc’n Comm’n, 46 F.3d 970 (9th Cir. 1995) involved a challenge to the

 general ban on most prerecorded telephone calls to residential telephone lines found in the TCPA.

 See 47 U.S.C. § 227(b)(1). Calls by tax exempt nonprofit organizations were exempt from the ban

 based on FCC regulations adopted on September 17, 1992. Id. at 973. Moser concluded the

 restriction was content-neutral, but the case predates Reed and considered a restriction that did not

 have voluminous content-based and speaker identity based exemptions that post-dated its decision

 but which are found in this case.

                        c.      Brickman v. Facebook, Inc.

        Defendants rely extensively on Brickman to the extent it ruled the government debt

 collection exemption may be severable, but Defendants simultaneously disagree with Brickman,

 claiming the exemption is limited because “such calls would only be made to those who owe a

 debt to the federal government.” Defs.’ Brief at 18, 25 (citing Brickman at *8).

        This ignores the text of the exemption. Congress inserted the language “unless such call

 is made solely to collect a debt owed to or guaranteed by the United States” after “charged for the

 call” in the cell phone call ban. Pub. L. No. 114-74 amending 47 U.S.C. § 227(b)(1).

        In no way is this language limited to calls to debtors or calls by the Government. Calls

 could be made to acquaintances of debtors, employers, or numerous other persons from whom



                                                  9

            Case 5:16-cv-00252-D Document 36 Filed 07/05/17 Page 9 of 15
Case 2:20-cv-01068-FLA-PVC             Document 12-2      Filed 02/28/20      Page 35 of 110 Page
                                             ID #:95



 private debt collectors must collect government debt. Defendant’s discussion at n. 8 belies the

 plain language of the statute, which is not limited to calls to the debtor or “those who have a legal

 relationship to the debt.” Defs.’ Brief at 19, n.8. Many calls could have a sole purpose to collect

 a debt, yet not be to the debtor.

         Brickman did not consider any of the FCC enacted content-based exemptions to the TCPA

 when it concluded “the TCPA’s exemptions leave negligible damage to the statute’s interest in

 protecting privacy.” Id. at *27. To the contrary, the exemptions show substantial favoring of

 commercial speech over Plaintiffs’ fully protected speech, allowing thousands of commercial debt

 collectors to place calls to debtors and other persons relating to collection of that debt, allowing

 package shippers to call any recipient of packages regardless of relationship with the sender of the

 package or the shipper, and allowing cell phone companies to contact customers for any purpose,

 including sales, political advocacy, etc. The exemptions show favoring of some debt collection

 calls over others despite them having an identical effect on residential privacy. The exemptions

 show that wireless carriers can contact their customers for sales purposes, or any other purposes,

 while other companies cannot make similar sales calls to their customers.

         Surely these calls cause at least the same, if not more, intrusion into consumers’ privacy

 than a ‘get out the vote’ or political polling call.

         When Congress intended the communication to involve a relationship solely with a

 customer, it defined it as such, e.g. established business relationship. 47 U.S.C. § 227(a)(2).

         Nor is the government debt exemption solely related to government speech as Defendants

 argue. Defs.’ Brief at 25. Government backed debt includes mortgages and student loans, as well

 as debts owed directly to the government, such as taxes. Numerous corporate entities issue and




                                                    10

           Case 5:16-cv-00252-D Document 36 Filed 07/05/17 Page 10 of 15
Case 2:20-cv-01068-FLA-PVC          Document 12-2         Filed 02/28/20      Page 36 of 110 Page
                                          ID #:96



 own mortgages and student loans, and those who call seeking to collect those debts are not

 government actors such that the speech is government speech.

        Further, simply because a debt is backed by the government, it does not necessarily follow

 that collection calls by a commercial entity collecting that debt are “government speech”. Such

 an argument would mean that any marketer of student loans or government backed mortgages was

 exempt from the TCPA, the Telemarketing Sales Rule (“TSR”), or Federal Trade Commission

 jurisdiction, etc. This simply cannot be the case. See e.g. United States v. Mortgage Investors

 Corp. of Ohio, No. 13-cv-01647 (M.D. Fla. July 17, 2013) (lawsuit against seller of Veterans

 Administration guaranteed loans), attached hereto as Exhibit A.

        Finally, the TCPA cell phone call ban is underinclusive, and therefore not narrowly tailored

 to further residential privacy. Because the debt collection exemption applies to collectors of

 government backed debt and not collectors of other debt, the TCPA cell phone call ban cannot be

 narrowly tailored to further residential privacy. For example, one debt collection call to collect a

 defaulted Federal Housing Authority loan would be legal, but another, from the exact same lender

 to the same debtor collecting a defaulted conventional loan would be illegal. This underinclusive

 dichotomy shows the true purpose of the ban is to favor some speech over other speech—the very

 ill strict scrutiny and First Amendment jurisprudence exist to combat.

                2.      Other district court cases relied            upon     by   Defendants    are
                        distinguishable from this challenge.

                        a.     Mey v. Venture Data, LLC

        The ruling in Mey v. Venture Data, LLC, 2017 WL 1193072 (N.D. W.V. Mar. 29, 2017),

 is based on an erroneous assumption and is distinguishable from this case.

        First, the court concluded that “[t]he TCPA is a permissible content-neutral regulation on

 its face” based on the incorrect notion that the statute “broadly limits ‘any person’ from using an

                                                 11

           Case 5:16-cv-00252-D Document 36 Filed 07/05/17 Page 11 of 15
Case 2:20-cv-01068-FLA-PVC                  Document 12-2            Filed 02/28/20          Page 37 of 110 Page
                                                  ID #:97



 [ATDS] or an artificial or prerecorded voice ‘to make any call’ to a cellular telephone line.” Id. at

 *17. Addressing the statutory exemptions, the court held that all three exceptions 2 were not

 content-based but based on the relationship of the speaker and the recipient of the message. Id.

          But this is incorrect. The TCPA exempts calls made “solely to collect a debt owed to or

 guaranteed by the United States.” 47 U.S.C. § 227(b)(1)(A)(iii) (emphasis added). If this

 exemption were based only on the relationship of the speaker and the recipient of the message, it

 would include all calls to collect a debt, not just those owed to or guaranteed by the United States.

 The debt collection exemption favors calls from some speakers that include certain content, i.e.

 government-back debt only, while prohibiting calls from other debt collectors.

          The court’s argument that Cahaly is distinguishable similarly fails. Mey relies on the fact

 that the South Carolina statute expressly makes facial content distinctions, see S.C. Code Ann. §

 16-17-446(A), and by contrast, states that the TCPA does not “target” political speech or any other

 type of speech on its face. Mey, 2017 WL 1193072 at *17. But the statutory exemption for calls

 made “solely to collect a debt owed to or guaranteed by the United States” shows this is incorrect.

 See United States v. Playboy Entm’t Group, 529 U.S. 803, 812 (2000) (“Laws designed or intended

 to   suppress      or   restrict    the    expression      of    specific     speakers     contradict      basic First

 Amendment principles.”).

          Similarly, Mey fails to address the FCC’s exemptions that favor certain messages with

 certain content, i.e. calls made by wireless carriers, package delivery companies, third-party-

 intermediaries, health care companies, financial institutions, certain debt collectors, and calls

 relating to federal government business. See 77 Fed. Reg. at 34235; 29 FCC Rcd at 3439; 29 FCC



 2
  The TCPA generally applies to all calls with three exceptions: (1) calls “for emergency purposes;” (2) calls made
 “with the prior express consent of the called party;” and (3) calls made “to collect a debt owed to or guaranteed by the
 United States.” 47 U.S.C. § 227(b)(1)(A).

                                                           12

             Case 5:16-cv-00252-D Document 36 Filed 07/05/17 Page 12 of 15
Case 2:20-cv-01068-FLA-PVC           Document 12-2         Filed 02/28/20     Page 38 of 110 Page
                                           ID #:98



 Rcd at 3444; 30 FCC Rcd at 8030-31; 30 FCC Rcd at 8023; 47 U.S.C. § 227(b)(1)(A)(iii); 47

 C.F.R. § 64.1200(a)(1)(iii); 31 FCC Rcd at 7400.

        Finally, the court ruled on the constitutionality of the TCPA as applied to the facts specific

 to the Mey case. Mey, 2017 WL 1193072 at *16-18. Here, Plaintiffs challenge the constitutionality

 of the cell phone call ban on its face. Thus, Mey is distinguishable from this case.

                        b.     Strickler v. Bijora, Inc.

        Strickler v. Bijora, Inc., 2012 U.S. Dist. LEXIS 156830 (N.D. Ill. Oct. 30, 2012) is

 distinguishable as it involved the question of whether the cell phone call ban applied to text

 messages and if so, whether that application was unconstitutional. Id. at *17.

                        c.     Wreyford v. Citizens for Transp. Mobility, Inc.

        Wreyford v. Citizens for Transp. Mobility, Inc., 957 F. Supp. 2d 1378 (N.D. Ga. 2013) also

 evaluated the TCPA cell phone call ban as a content-neutral time, place, and manner restriction

 relying on Moser. Id. at 1380.

                        d.     Woods v. Santander Consumer USA Inc.

        Woods v. Santander Consumer USA Inc., 2017 U.S. Dist. LEXIS 47256 (N.D. Ala. Mar.

 30, 2017) reviewed the TCPA cell phone call ban as a content-neutral restriction on speech. It did

 not consider the exemptions to the cell phone call ban. Id. at *6.

                3.      Other cases relied upon by Defendants, however, have nothing to do
                        with the TCPA.

                        a.     Patriotic Veterans, Inc. v. Zoeller.

        Patriotic Veterans, Inc. v. Zoeller, 845 F.3d 303 (7th Cir. 2017) involved a challenge to

 Indiana’s prerecorded telephone call statute by a nonprofit political group. Although the statute

 had exemptions, they all hinged on the relationship between the caller and the recipient of the call

 rather than the content of the message. Id. at 304.

                                                 13

           Case 5:16-cv-00252-D Document 36 Filed 07/05/17 Page 13 of 15
Case 2:20-cv-01068-FLA-PVC          Document 12-2        Filed 02/28/20      Page 39 of 110 Page
                                          ID #:99



                       b.      Van Bergen v. Minnesota.

        Van Bergen v. Minn., 59 F.3d 1541 (8th Cir. 1995) involved a challenge to a Minnesota

 law regulating the use of prerecorded messages by a candidate for Minnesota governor. Although

 the case discussed preemption by the TCPA, it did not question or review its constitutionality. Id.

 at 1545-46.

 III.   CONCLUSION

        Plaintiffs respectfully request that this Court declare the TCPA cell phone call ban to be

 an unconstitutional, content-based restriction of speech, enjoin its enforcement, and grant such

 other relief as the Court deems just and proper.



 Dated: July 5, 2017                          Respectfully Submitted,

                                                /s/ Charles George

                                              WYRICK ROBBINS YATES & PONTON LLP
                                              Charles George, NC #21003
                                              4101 Lake Boone Trail, Suite 300
                                              Raleigh, North Carolina 27607
                                              Telephone: (919) 781-4000
                                              Facsimile: (919) 781-4865
                                              Email: cgeorge@wyrick.com

                                              -and-

                                                /s/ William E. Raney

                                              COPILEVITZ & CANTER, LLC
                                              William E. Raney, MO #46954 (Pro hac vice)
                                              Kellie Mitchell Bubeck, MO #65573 (Pro hac vice)
                                              310 W. 20th Street, Suite 300
                                              Kansas City, Missouri 64108
                                              Telephone: (816) 472-9000
                                              Facsimile: (816) 472-5000
                                              Email: braney@cckc-law.com
                                                     kmitchell@cckc-law.com



                                                    14

           Case 5:16-cv-00252-D Document 36 Filed 07/05/17 Page 14 of 15
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20      Page 40 of 110 Page
                                   ID #:100



                                    Attorneys for Plaintiffs




                                      15

         Case 5:16-cv-00252-D Document 36 Filed 07/05/17 Page 15 of 15
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20   Page 41 of 110 Page
                                   ID #:101




             EXHIBIT D
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20   Page 42 of 110 Page
                                   ID #:102




                                  No. 19-631

                                    In the
               Supreme Court of the United States
                      WILLIAM P. BARR, ATTORNEY GENERAL;
                     FEDERAL COMMUNICATIONS COMMISSION,
                                          Petitioners,
                                       v.
                      AMERICAN ASSOCIATION OF POLITICAL
                           CONSULTANTS, INC., ET AL.,
                                          Respondents.

                     ON PETITION FOR A WRIT OF CERTIORARI
                    TO THE UNITED STATES COURT OF APPEALS
                            FOR THE FOURTH CIRCUIT


                        BRIEF FOR RESPONDENTS
                       IN SUPPORT OF CERTIORARI

               WILLIAM E. RANEY         ROMAN MARTINEZ
               KELLIE MITCHELL BUBECK    Counsel of Record
               COPILEVITZ, LAM &        ANDREW B. CLUBOK
                 RANEY, P.C.            SUSAN E. ENGEL
               310 W. 20th Street       TYCE R. WALTERS
               Suite 300                SAMIR DEGER-SEN
               Kansas City, MO 64108    GREGORY B. IN DEN BERKEN
               (816) 472-9000           LATHAM & WATKINS LLP
                                        555 Eleventh Street, NW
                                        Suite 1000
                                        Washington, DC 20004
                                        (202) 637-2200
                                        roman.martinez@lw.com
                             Counsel for Respondents
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20        Page 43 of 110 Page
                                    ID #:103




                             QUESTION PRESENTED
                  The Telephone Consumer Protection Act (TCPA)
               imposes liability of up to $1,500 for any call or text
               message made or sent without prior express consent
               to a cell phone using an automatic telephone dialing
               system or an artificial or prerecorded voice. That
               broad prohibition on speech, however, is subject to a
               host of exceptions, including for calls made “to collect
               a debt owed to or guaranteed by the United States.”
                  In the decision below, the Fourth Circuit
               recognized that the TCPA’s restriction on speech is
               content-based and not narrowly tailored to any
               compelling government interest. Accordingly, the
               court held that the statute violates the First
               Amendment. But instead of invalidating the TCPA’s
               ban on speech, the court took the extraordinary step
               of rewriting the statute to prohibit more speech.
               Specifically, the Fourth Circuit purported to fix the
               constitutional defect by severing the government-debt
               exception from the statute, while leaving all of the
               statute’s unconstitutional speech restrictions intact.
                  The question presented is:
                  Whether the TCPA’s automated-call prohibition is
               an unconstitutional content-based restriction of
               speech, and if so whether the Fourth Circuit erred in
               addressing the constitutional violation by broadening
               the prohibition to abridge more speech.
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20    Page 44 of 110 Page
                                    ID #:104




                                       ii
                             RULE 29.6 STATEMENT
                  Respondent Public Policy Polling, LLC has no
               parent corporation, and no publicly held company
               owns 10 percent or more of its stock. The remaining
               respondents are nonprofit organizations.
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20   Page 45 of 110 Page
                                   ID #:105




                                      iii
                     LIST OF RELATED PROCEEDINGS
                  Pursuant to Supreme Court Rule 14.1(b)(iii),
               respondents state that there are no proceedings
               directly related to the case in this Court.
Case 2:20-cv-01068-FLA-PVC         Document 12-2 Filed 02/28/20                       Page 46 of 110 Page
                                         ID #:106




                                                   iv
                                  TABLE OF CONTENTS
                                                                                    Page
               QUESTION PRESENTED ......................................... i
               RULE 29.6 STATEMENT.......................................... ii
               LIST OF RELATED PROCEEDINGS ..................... iii
               TABLE OF AUTHORITIES ...................................... v
               STATEMENT OF THE CASE ................................... 3
                   A. Statutory and Regulatory Background .......... 3
                   B. Factual and Procedural Background .............. 6
               ARGUMENT ............................................................ 12
                   A. The Constitutional Issue Warrants
                      Review ............................................................ 12
                   B. The Remedial Issue Warrants Review ......... 17
               CONCLUSION ......................................................... 27
Case 2:20-cv-01068-FLA-PVC           Document 12-2 Filed 02/28/20                        Page 47 of 110 Page
                                           ID #:107




                                                      v
                                TABLE OF AUTHORITIES
                                                                                  Page(s)
                                                 CASES

               Arkansas Writers’ Project, Inc. v. Ragland,
                  481 U.S. 221 (1987) .................................. 17, 20, 21

               Beckerman v. City of Tupelo,
                  664 F.2d 502 (5th Cir. Unit A. Dec.
                  1981) .....................................................................21

               Bridgeview Health Care Center, Ltd. v.
                  Clark,
                  816 F.3d 935 (7th Cir. 2016)..................................6

               Carey v. Brown,
                 447 U.S. 455 (1980) ..............................................21

               City of Cincinnati v. Discovery Network,
                  Inc.,
                  507 U.S. 410 (1993) ..............................................21

               Dana’s Railroad Supply v. Attorney
                 General,
                 807 F.3d 1235 (11th Cir. 2015)............................22

               Dimmitt v. City of Clearwater,
                 985 F.2d 1565 (11th Cir. 1993)......................21, 23

               Duguid v. Facebook, Inc.,
                 926 F.3d 1146 (9th Cir. 2019)............ 10, 11, 16, 23

               First National Bank of Boston v. Bellotti,
                  435 U.S. 765 (1978) ..............................................21
Case 2:20-cv-01068-FLA-PVC        Document 12-2 Filed 02/28/20                  Page 48 of 110 Page
                                        ID #:108




                                                 vi
                     TABLE OF AUTHORITIES—Continued
                                                                          Page(s)
               Free Enterprise Fund v. Public Co.
                  Accounting Oversight Board,
                  561 U.S. 477 (2010) ........................................17, 18

               Gallion v. United States,
                 772 F. App’x 604 (9th Cir. 2019) ...................11, 23

               Greater New Orleans Broadcasting
                  Association v. United States,
                  527 U.S. 173 (1999) ..............................................21

               Iancu v. Brunetti,
                  139 S. Ct. 2294 (2019)......................................2, 12

                Italian Colors Restaurant v. Becerra,
                   878 F.3d 1165 (9th Cir. 2018)..............................15

               Lucia v. SEC,
                  138 S. Ct. 2044 (2018)..........................................24

               Marks v. Crunch San Diego,
                 904 F.3d 1041 (9th Cir. 2018), cert.
                 dismissed, 139 S. Ct. 1289 (2019) .......................10

               Matthews v. Town of Needham,
                 764 F.2d 58 (1st Cir. 1985) ..................................21

               McCullen v. Coakley,
                 573 U.S. 464 (2014) ..............................................13

               Metromedia, Inc. v. City of San Diego,
                 453 U.S. 490 (1981) ..............................................15
Case 2:20-cv-01068-FLA-PVC        Document 12-2 Filed 02/28/20                   Page 49 of 110 Page
                                        ID #:109




                                                 vii
                     TABLE OF AUTHORITIES—Continued
                                                                           Page(s)
               Minneapolis Star & Tribune Co. v.
                 Minnesota Commissioner of Revenue,
                 460 U.S. 575 (1983) ..............................................21

               Morse v. Frederick,
                 551 U.S. 393 (2007) ................................................6

               Police Department of Chicago v. Mosley,
                  408 U.S. 92 (1972) ................................................21

               Rappa v. New Castle County,
                 18 F.3d 1043 (3d Cir. 1994) ..................... 21, 22, 24

               Reed v. Town of Gilbert,
                  135 S. Ct. 2218 (2015).................................. passim

               Republican Party of Minnesota v. White,
                  536 U.S. 765 (2002) ..............................................15

               Shamblin v. Obama for America,
                 No. 8:13-cv-2428-T-33TBM, 2015 WL
                 1754628 (M.D. Fla. Apr. 17, 2015) ........................6

               Sorrell v. IMS Health Inc.,
                  564 U.S. 552 (2011) ..............................................21

               Thomas v. Chicago Park District,
                 534 U.S. 316 (2002) ..............................................15

               Turner Broadcasting System, Inc. v. FCC,
                 512 U.S. 622 (1994) ..............................................14

               Willson v. City of Bel-Nor,
                  924 F.3d 995 (8th Cir. 2019)................................21
Case 2:20-cv-01068-FLA-PVC         Document 12-2 Filed 02/28/20                    Page 50 of 110 Page
                                         ID #:110




                                                 viii
                     TABLE OF AUTHORITIES—Continued
                                                                             Page(s)
                           ADMINISTRATIVE DECISIONS

               Cargo Airline Association Petition for
                 Expedited Declaratory Ruling, Rules
                 and Regulations Implementing the
                 Telephone Consumer Protection Act of
                 1991, Order, CG Docket No. 02-278, 29
                 FCC Rcd. 3432 (2014) ............................................5

               Rules and Regulations Implementing the
                 Telephone Consumer Protection Act of
                 1991, Declaratory Ruling, CG Docket
                 No. 02-278, 31 FCC Rcd. 7394 (2016) ...................4

               Rules and Regulations Implementing the
                 Telephone Consumer Protection Act of
                 1991, Declaratory Ruling and Order, CG
                 Docket No. 02-278, WC Docket No. 07-
                 135, 30 FCC Rcd. 7961 (2015) ...........................5, 6

                      CONSTITUTIONAL AND STATUTORY
                                PROVISIONS

               U.S. Const. amend. I .................................................18

               47 U.S.C. § 153(39)......................................................4

               47 U.S.C. § 227(a)(1) ...................................................3

               47 U.S.C. § 227(b)(1) ...................................................4

               47 U.S.C. § 227(b)(1)(A) ........................................4, 16

               47 U.S.C. § 227(b)(1)(A)(iii)...............................3, 9, 18
Case 2:20-cv-01068-FLA-PVC          Document 12-2 Filed 02/28/20                     Page 51 of 110 Page
                                          ID #:111




                                                   ix
                     TABLE OF AUTHORITIES—Continued
                                                                               Page(s)
               47 U.S.C. § 227(b)(2)(C) ..............................................4

               47 U.S.C. § 227(b)(3) ...................................................5

               47 U.S.C. § 227(g)(1) ...................................................5

               47 U.S.C. § 227(g)(3) ...................................................5

               47 U.S.C. § 227(g)(7) ...................................................5

               47 U.S.C. § 608 ..........................................................19

                                  OTHER AUTHORITIES

               Brooke Conkle et al., Dissecting The
                  Inherent Tension In Today’s TCPA
                  Landscape, Law360 (Aug. 5, 2019) .......................6

               Alexis Kramer, Facebook Robocall Case
                  Gives Justices Shot to Define Autodialer,
                  Bloomberg L. News (Oct. 28, 2019) .....................26

               Stuart L. Pardau, Good Intentions and the
                  Road to Regulatory Hell: How the TCPA
                  Went from Consumer Protection Statute
                  to Litigation Nightmare, 2018 U. Ill. J.L.
                  Tech. & Pol’y 313 (2018) ........................................6

               S. Rep. No. 102-178 (1991), reprinted in
                  1991 U.S.C.C.A.N. 1968 ........................................5
Case 2:20-cv-01068-FLA-PVC          Document 12-2 Filed 02/28/20                     Page 52 of 110 Page
                                          ID #:112




                                                    x
                     TABLE OF AUTHORITIES—Continued
                                                                               Page(s)
               WebRecon Stats for Dec 2017 & Year in
                 Review, WebRecon LLC,
                 https://webrecon.com/webrecon-stats-for-
                 dec-2017-year-in-review/ (last visited
                 Dec. 3, 2019) ...........................................................5
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20       Page 53 of 110 Page
                                    ID #:113




                         BRIEF FOR RESPONDENTS
                   Respondents agree with the Government that
               certiorari should be granted. This case involves
               questions of far-reaching importance regarding
               (1) the constitutionality of a frequently litigated Act
               of Congress, and (2) the appropriate remedy when a
               content-based speech restriction violates the First
               Amendment. Although the Fourth Circuit correctly
               held that the statute at issue is unconstitutional, the
               court nonetheless refused to invalidate the challenged
               speech restriction or provide respondents any
               meaningful relief. Instead, the court “severed” an
               exception to the speech restriction, thereby outlawing
               additional speech while leaving the unconstitutional
               speech prohibition intact. The Fourth Circuit’s
               constitutional holding is correct, but its severability
               analysis is profoundly wrong and requires this
               Court’s urgent attention. Certiorari is warranted on
               both issues.
                   The Telephone Consumer Protection Act (TCPA)
               is one of the most frequently litigated statutes in the
               federal courts, with thousands of new cases, alleging
               billions of dollars in damages, filed each year. The
               TCPA contains a sweeping prohibition on certain
               types of automated calls made to cellular telephones.
               But that restriction is subject to multiple, content-
               based exceptions for speech that the government
               favors—including a gaping exception for calls made to
               collect any form of government-backed debt, and a
               total exemption for any automated calls made by
               federal, state, or local government entities.
                   Respondents are direct participants in the
               American political process who wish to use automatic-
               call technology to engage in political speech at the
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20       Page 54 of 110 Page
                                    ID #:114




                                         2
               core of the First Amendment. For that reason, they
               challenged the TCPA’s speech restrictions as
               unconstitutional. The Fourth Circuit properly held
               that the TCPA violates the First Amendment because
               it discriminates among types of speech based on
               content and cannot satisfy strict scrutiny. But
               instead of striking down the unconstitutional speech
               restriction, the Fourth Circuit crafted an
               extraordinary “remedy” by severing the government-
               debt exception from the statute. So the court’s
               solution to the First Amendment violation was to
               make more speech unlawful.
                   Because the decision below invalidated a federal
               statute, the Government rightly asserts that this
               Court’s traditional criteria for certiorari support
               review of the Fourth Circuit’s constitutional holding.
               See, e.g., Iancu v. Brunetti, 139 S. Ct. 2294, 2298
               (2019). That is so even though that holding is entirely
               correct. As the Fourth Circuit concluded, the TCPA’s
               automated-call ban “constitutes an unconstitutional
               content-based restriction on speech,” is “fatally
               underinclusive,” and thus “fails to satisfy strict
               scrutiny.” Pet. App. 16a, 21a-22a.
                   But the Fourth Circuit’s remedial holding is
               fundamentally wrong, and—as the Government
               recognizes—it too warrants this Court’s review in this
               case. Under settled principles of law, when a content-
               based restriction on speech violates the First
               Amendment, the proper remedy is to invalidate that
               restriction. See, e.g., Reed v. Town of Gilbert, 135 S.
               Ct. 2218, 2231-32 (2015). The Fourth Circuit’s
               contrary decision to leave the restriction intact—but
               to sever and invalidate a speech-promoting exception
               to the restriction—turns constitutional law on its
               head. The First Amendment does not allow courts to
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20       Page 55 of 110 Page
                                    ID #:115




                                         3
               rewrite laws to ban more speech. The Fourth Circuit’s
               severability holding conflicts with countless decisions
               of this Court and various federal courts of appeals. It
               also entirely undermines the incentives for litigants
               to challenge unconstitutional content-based speech
               restrictions in the first place.
                   The Fourth Circuit’s extraordinary decision to
               hold an act of Congress unconstitutional, but then
               deny the challengers any relief by rewriting the
               statute to ban more speech, plainly merits this
               Court’s review in this case. And because the pending
               petition in Facebook, Inc. v. Duguid, No. 19-511 (filed
               Oct. 17, 2019), raises a related and independently
               certworthy statutory question, the Court should grant
               certiorari and hold oral argument in that case as well.
                          STATEMENT OF THE CASE
                  A. Statutory and Regulatory Background
                   1. The TCPA makes it “unlawful” to call a
               cellphone using either an “automatic telephone
               dialing system” (ATDS) or an “artificial or
               prerecorded voice,” unless that call is made with the
               prior express consent of the recipient. 47 U.S.C.
               § 227(b)(1)(A)(iii). The statute defines an ATDS as
               “equipment which has the capacity . . . to store or
               produce telephone numbers to be called, using a
               random or sequential number generator; and . . . to
               dial such numbers.” Id. § 227(a)(1).
                   The TCPA provides multiple exceptions to its ban
               on speech using automated technology.           Most
               saliently, it exempts calls “made solely to collect a
               debt owed to or guaranteed by the United States.” Id.
               § 227(b)(1)(A)(iii). That broad category encompasses
               a vast array of privately issued student loans,
               mortgages, veterans’ loans, and farm loans. Under
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20         Page 56 of 110 Page
                                    ID #:116




                                          4
               this government-debt exception, private debt
               collectors are allowed to make calls without consent
               using autodialing or prerecorded/artificial voice
               technology so long as the call is for the collection of a
               private government-backed debt or a debt owed to the
               government itself. So, for example, while a call using
               an ATDS to collect a government-backed mortgage
               debt or a government-backed student loan debt is
               permitted, an otherwise identically worded call to
               discuss the collection of either of those debts from a
               private lender, or to discuss any other topic, is
               prohibited.
                   The TCPA also explicitly exempts calls “made for
               emergency purposes.” 47 U.S.C. § 227(b)(1)(A). And
               the statute implicitly exempts all calls made by
               governmental entities—including state and local
               governmental entities—by limiting its coverage to a
               “person,” id. § 227(b)(1), which is defined as any
               “individual, partnership, association, joint-stock
               company, trust, or corporation,” see id. § 153(39). The
               Federal Communications Commission (FCC) has
               interpreted this exemption to extend to government
               contractors. See Rules and Regulations Implementing
               the Telephone Consumer Protection Act of 1991,
               Declaratory Ruling, CG Docket No. 02-278, 31 FCC
               Rcd. 7394, 7395-96, 7398-99 ¶¶ 3, 10-11 (2016).
                   Finally, the statute provides that the FCC “may,
               by rule or order, exempt from” liability any “calls to a
               telephone number assigned to a cellular telephone
               service that are not charged to the called party.” 47
               U.S.C. § 227(b)(2)(C). Under this provision, the FCC
               has exempted numerous categories of calls on the
               basis of content. For instance, certain healthcare-
               related calls (such as medical appointment reminders
               and prescription reminders) are exempted, as are
Case 2:20-cv-01068-FLA-PVC     Document 12-2 Filed 02/28/20         Page 57 of 110 Page
                                     ID #:117




                                           5
               package-delivery notifications and calls relating to
               bank transfers.         See Rules and Regulations
               Implementing the Telephone Consumer Protection Act
               of 1991, Declaratory Ruling and Order (2015 FCC
               Order), CG Docket No. 02-278, WC Docket No. 07-135,
               30 FCC Rcd. 7961, 8024-28, 8031-32 ¶¶ 129-38, 146-
               48 (2015); Cargo Airline Association Petition for
               Expedited Declaratory Ruling, Rules and Regulations
               Implementing the Telephone Consumer Protection Act
               of 1991, Order, CG Docket No. 02-278, 29 FCC Rcd.
               3432, 3436-38 ¶¶ 13-18 (2014).
                   The TCPA is enforceable by the FCC and state
               attorneys general, and it also creates a private right
               of action that carries substantial penalties. 47 U.S.C.
               § 227(b)(3), (g)(1), (g)(3), (g)(7). A violation of the
               statute is subject to an automatic $500 statutory
               penalty per call, with treble damages available “[i]f
               the court finds that the defendant willfully or
               knowingly” committed the violation. Id. § 227(b)(3).
                   2. For almost 20 years after its enactment in
               1991, the TCPA lay relatively dormant. See S. Rep.
               No. 102-178, at 2 (1991), reprinted in 1991
               U.S.C.C.A.N. 1968, 1969. But over the last decade,
               litigation under the statute has exploded. Between
               2009 and 2016, there was an almost 50-fold increase
               in the number of TCPA cases filed, from fewer than
               100 in 2009 to 4,840 in 2016.1 This “skyrocketing”
               docket has led the FCC’s current chairman to
               characterize the TCPA as the “poster child for lawsuit




                  1 WebRecon Stats for Dec 2017 & Year in Review,
               WebRecon LLC, https://webrecon.com/webrecon-stats-for-dec-
               2017-year-in-review/ (last visited Dec. 3, 2019).
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20       Page 58 of 110 Page
                                    ID #:118




                                         6
               abuse.” 2015 FCC Order, 30 FCC Rcd. at 8073 (Pai,
               Comm’r, dissenting).
                   Statutory damages of up to $1,500 per individual
               call have made the TCPA “a national cash cow for
               plaintiff’s attorneys.” Bridgeview Health Care Ctr.,
               Ltd. v. Clark, 816 F.3d 935, 941 (7th Cir. 2016)
               (citation omitted). One recent class action, for
               instance, resulted in a jury award of $925 million. See
               Brooke Conkle et al., Dissecting The Inherent Tension
               In Today’s TCPA Landscape, Law360 (Aug. 5, 2019).
               And TCPA actions regularly settle for tens of millions
               of dollars. See Stuart L. Pardau, Good Intentions and
               the Road to Regulatory Hell: How the TCPA Went
               from Consumer Protection Statute to Litigation
               Nightmare, 2018 U. Ill. J.L. Tech. & Pol’y 313, 322
               (2018) (citing statistics).
                   TCPA suits have not only targeted for-profit
               businesses. They have also sought to penalize the
               dissemination of information from a wide array of
               nonprofits, religious organizations, and political
               entities as well.         Indeed, American political
               campaigns are now routinely sued in TCPA class
               actions. See, e.g., Shamblin v. Obama for Am., No.
               8:13-cv-2428-T-33TBM, 2015 WL 1754628, at *1
               (M.D. Fla. Apr. 17, 2015); Thorne v. Donald J. Trump
               for President, Inc., No. 1:16-cv-4603 (N.D. Ill. filed
               Apr. 25, 2016). The TCPA thus directly targets non-
               government speech of virtually every type, including
               “[p]olitical speech” that is “‘at the core of what the
               First Amendment is designed to protect.’” Morse v.
               Frederick, 551 U.S. 393, 403 (2007) (citation omitted).
                  B. Factual and Procedural Background
                  1. Respondents are a collection of entities whose
               core function is to participate in the American
Case 2:20-cv-01068-FLA-PVC       Document 12-2 Filed 02/28/20              Page 59 of 110 Page
                                       ID #:119




                                              7
               political process, including by disseminating political
               speech in connection with federal, state, and local
               elections.
                   Respondent American Association of Political
               Consultants, Inc. (AAPC) is a bipartisan trade
               association of political and public affairs
               professionals, including consultants, fundraisers, and
               pollsters. AAPC’s members make calls to solicit
               candidate donations, conduct polls on political and
               governmental issues, and organize “get out the vote”
               efforts. C.A.J.A. 158.2 Respondent Democratic Party
               of Oregon works to coordinate, organize, and elect
               political candidates by making calls to registered
               voters, offering voters information to help with the
               voting process, and encouraging voters to return their
               ballots and vote for Democratic candidates. Id. at 142
               ¶ 9.     Respondent Washington State Democratic
               Central Committee likewise works to elect Democrats
               to office—in part by making calls to registered voters
               to advise on issues and to solicit political donations.
               Id. at 143-44 ¶ 12. And Respondent Public Policy
               Polling tracks public opinion on behalf of politicians,
               political organizations, unions, and others. Id. at 143
               ¶ 10.
                   Respondents believe that their political activities
               would be aided by using automated technology to
               reach a greater number of citizens in a more cost-
               effective manner. Id. at 159 ¶ 11, 162 ¶ 8, 174 ¶ 8.
               But they recognize that many of their activities could
               run afoul of Section 227(b)(1)(A)(iii) and risk $1,500



                    2 “C.A.J.A.” refers to Joint Appendix, No. 18-1588 (4th Cir.
               filed July 3, 2018).
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20        Page 60 of 110 Page
                                    ID #:120




                                          8
               in statutory damages for every single call or text
               message made or sent.
                   2. In 2016, respondents initiated this declaratory
               judgment action against the Attorney General and
               the FCC. They asserted that the TCPA’s content-
               based ban on protected speech violates the First
               Amendment, and they sought declaratory relief as
               well as an injunction restraining the Government
               from enforcing the speech ban against them. See, e.g.,
               C.A.J.A. 141 ¶ 7, 148-54 ¶¶ 36-663, 238-39, 243, 248,
               250-51.     In explaining why the restriction is
               unconstitutional, respondents pointed to the various
               exceptions—including         the       government-debt
               exception—directly undermining the Government’s
               claim that the automated-call ban advances a
               compelling interest. See, e.g., id. at 141, 149, 152-54,
               238-39, 243, 266, 289-96, 379-84.
                   The district court concluded that the TCPA’s
               prohibition on speech is content-based and thus
               subject to strict scrutiny. Pet. App. 33a-35a. But it
               then held that the statute survives strict scrutiny,
               because in its view the restriction is narrowly tailored
               to the government’s interest in residential privacy.
               Id. at 35a-38a. The court further held that the
               “TCPA’s government-debt exception is a narrow
               exception to further a compelling interest” in
               collecting government-backed debts. Id. at 37a. The
               court therefore granted summary judgment to the
               Government. Id. at 42a.
                   3. On appeal, the Fourth Circuit agreed with the
               district court and respondents that the TCPA’s
               automated-caller provision employs content-based
               distinctions and thus triggers strict scrutiny. Pet.
               App. 12a. In doing so, the court applied this Court’s
               recent decision in Reed, which reaffirmed that a
Case 2:20-cv-01068-FLA-PVC      Document 12-2 Filed 02/28/20              Page 61 of 110 Page
                                      ID #:121




                                              9
               statutory restriction on speech is content-based if it
               “applies to particular speech because of the topic
               discussed or the idea or message expressed.” Id. at
               11a (quoting 135 S. Ct. at 2227). The court explained
               that Section 227(b)(1)(A)(iii) “facially distinguishes
               between phone calls on the basis of their content.” Id.
               at 12a. Specifically, whereas calls made to cell phones
               “‘solely to collect a debt owed to or guaranteed by the
               United States’ do not violate the automated call ban,”
               calls “that deal with other subjects—such as efforts to
               collect a debt neither owed to nor guaranteed by the
               United States—. . . are prohibited by the automated
               call ban.” Id. (emphasis added) (quoting 47 U.S.C.
               § 227(b)(1)(A)(iii)).
                   The court next concluded that the provision “fails
               strict scrutiny review,” id. at 16a, because “the debt-
               collection exemption does not further the purpose of
               the automated call ban in a narrowly tailored
               fashion,” id. at 17a. It noted that the exception’s
               “expansive reach” “subverts the privacy protections
               underlying the ban” insofar as it “authoriz[es] many
               of the intrusive calls that the automated call ban was
               enacted to prohibit.” Id. at 16a, 18a; see id. at 16a
               (describing      speech     restriction   as    “fatally
               underinclusive”).   3

                   The Fourth Circuit then turned to the question of
               remedy. Strangely, the court based its analysis on the


                  3    The Fourth Circuit declined to address respondents’
               argument that the other statutory and regulatory exemptions
               likewise establish that the automated-call provision is content-
               based and unconstitutional, even though respondents had
               properly raised those exemptions throughout the case. Pet. App.
               10a n.7; see also C.A.J.A. 290-92 (Resps. Mot. Summ. J.);
               C.A.J.A. 381-82, 388 (Resps. Reply in Supp. Summ. J.).
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20       Page 62 of 110 Page
                                    ID #:122




                                         10
               erroneous premise that it was the government-debt
               exception, and not the underlying speech prohibition,
               that violates the First Amendment—even though
               (1) the exception itself does not abridge any speech,
               and (2) respondents had clearly challenged the
               restriction, not the exception. Pet. App. 3a; see supra
               at 8; Resps. C.A. Br. 8; Resps. C.A. Reply Br. 2-4. The
               court then found that the government-debt exception
               is severable from the rest of the TCPA, including the
               speech-abridging prohibition that respondents have
               actually challenged. Pet. App. 21a-24a. The Fourth
               Circuit thus purported to remedy the First
               Amendment violation by expanding the TCPA’s
               speech restriction to abridge speech that Congress
               purposely freed from regulation. Id. at 23a-24a.
                   The Government and respondents each sought
               rehearing en banc, challenging the constitutional and
               remedial holdings, respectively. Both petitions were
               denied on June 21, 2019. Id. at 49a.
                   4. While this case was pending in the Fourth
               Circuit, the Ninth Circuit addressed the scope of the
               TCPA’s automated-call ban in Marks v. Crunch San
               Diego, 904 F.3d 1041 (9th Cir. 2018), cert. dismissed,
               139 S. Ct. 1289 (2019). Marks adopted an expansive
               interpretation of the TCPA’s definition of ATDS,
               holding that it encompasses any device “with the
               capacity to dial stored numbers automatically.” Id. at
               1052. That definition is broad enough to include
               virtually all of the 265 million smartphones now in
               use in the United States.
                   A few months later—and shortly after the Fourth
               Circuit’s decision in this case—the Ninth Circuit
               rejected various First Amendment challenges to the
               TCPA’s constitutionality in Duguid v. Facebook, Inc.,
               926 F.3d 1146 (9th Cir. 2019). The court began by
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20        Page 63 of 110 Page
                                    ID #:123




                                         11
               doubling-down on Marks’s expansive interpretation of
               the ATDS provision and rejecting Facebook’s
               argument that this interpretation rendered the
               statute unconstitutionally overbroad. Id. at 1151-52.
               The Ninth Circuit then accepted Facebook’s
               alternative constitutional argument—which tracks
               the one respondents advanced here—that the statute
               is content-based and fails strict scrutiny. Id. at 1153-
               56. Just like the Fourth Circuit in this case, however,
               the court severed the speech-permitting exception
               from the remainder of the statute. Id. at 1156-57.
               The Ninth Circuit therefore left intact the speech-
               abridging prohibition that Facebook actually
               challenged, and that failed strict scrutiny. Id.
                   Two weeks after its decision in Duguid, the Ninth
               Circuit issued an opinion in Gallion v. United States,
               772 F. App’x 604 (9th Cir. 2019), again recognizing
               that the content-based distinctions embodied in the
               TCPA were unconstitutional, and again choosing to
               sever the government-debt exception rather than
               invalidate the statute’s prohibition on speech. Id.
               (applying Duguid).
                   On October 17, 2019, Facebook filed a petition for
               certiorari in this Court asserting that (1) the
               Marks/Duguid interpretation of the ATDS provision
               is erroneous, and (2) the automated-call ban is an
               unconstitutional content-based restriction on speech.
               Pet. 12-34, Facebook, Inc. v. Duguid, No. 19-511. On
               November 1, 2019, Charter Communications filed its
               own petition for certiorari advancing the
               constitutional argument. Charter Commc’ns, Inc. v.
               Gallion, No. 19-575. And on November 14, 2019, the
               Solicitor General filed the petition in this case.
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20       Page 64 of 110 Page
                                    ID #:124




                                         12
                                   ARGUMENT
                  The Government is right that this Court should
               review the Fourth Circuit’s decision in this case,
               including both its constitutional and remedial
               holdings. The Fourth Circuit’s ruling that the TCPA’s
               automated-call restriction violates the First
               Amendment is correct, but certiorari is nonetheless
               appropriate under this Court’s usual practice of
               reviewing any decision holding a federal statute
               unconstitutional. The Fourth Circuit’s severability
               ruling is both wrong and independently certworthy.
               That ruling violates this Court’s precedent, conflicts
               with decisions of other courts of appeals, and
               undermines core First Amendment principles.
               Additionally, because the Facebook case raises a
               related and independently certworthy statutory
               question, this Court should grant review there as
               well.
                  A.   The Constitutional         Issue    Warrants
                       Review
                  The Government’s petition asks this Court to
               review the Fourth Circuit’s holding that the TCPA’s
               automated-call         restriction    is       facially
               unconstitutional, thereby requiring severance of the
               government-debt exception. Pet. 6-17. Respondents
               agree that certiorari is warranted.
                  1. This Court’s “usual” practice is to grant
               certiorari “when a lower court has invalidated a
               federal statute.” Iancu v. Brunetti, 139 S. Ct. 2294,
               2298 (2019). No reason exists to depart from that
               practice here. The constitutional question in this case
               is exceptionally important to the Government, to
               respondents, and indeed to all potential TCPA
               defendants around the country. As the petition notes
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20        Page 65 of 110 Page
                                    ID #:125




                                         13
               (at 13), the government-debt exception is frequently
               utilized and enables private debt collectors to help the
               Government collect millions of dollars annually.
               More generally, the TCPA is one of the most
               frequently litigated statutes in the federal courts,
               with thousands of cases—alleging billions of dollars
               in damages—filed each year. See supra at 5-6.
               Potential TCPA defendants have the right to know
               whether the prohibitions on their speech are
               constitutionally invalid.       There is plainly an
               important need for a uniform federal rule on this
               question.    This Court should resolve the First
               Amendment issue in this case.
                   2. Although the Government is right about
               certiorari, the Fourth Circuit’s holding that the
               TCPA’s automated-call provision violates the First
               Amendment is correct. If certiorari is granted, this
               Court should affirm that holding on the merits.
                   The automated-call prohibition is a content-based
               restriction on speech because (1) it “draws
               distinctions based on the message a speaker conveys,”
               and (2) whether its prohibitions apply to any given
               automated call “depend[s] entirely on the
               communicative content of the [call].” Reed v. Town of
               Gilbert, 135 S. Ct. 2218, 2227 (2015); see also
               McCullen v. Coakley, 573 U.S. 464, 479 (2014); Pet.
               App. 12a-14a. As the Fourth Circuit explained, the
               application of the TCPA’s speech restriction depends
               on whether the call in question is made to collect
               government-backed debt. Pet. App. 12a-13a. If so,
               the call is permitted. If not, the call is prohibited.
               Either way, whether the statute applies turns on the
               content of the call. By design, the TCPA favors speech
Case 2:20-cv-01068-FLA-PVC       Document 12-2 Filed 02/28/20               Page 66 of 110 Page
                                       ID #:126




                                              14
               relating to collection of government-backed debt while
               banning otherwise identical speech.4
                   Content-based speech restrictions like the one at
               issue here trigger strict scrutiny and are
               “presumptively unconstitutional”; they are justified
               “only if the government proves that they are narrowly
               tailored to serve compelling state interests.” Reed,
               135 S. Ct. at 2226. Here, the Fourth Circuit rightly
               concluded that the automated-call ban does not serve
               compelling interests. The statutory exception for
               calls made to collect government-backed debts creates
               a gaping hole in the regulatory framework that
               completely undermines the Government’s asserted
               interest in protecting personal privacy. See Pet. App.
               17a (noting that exception “runs counter to the
               privacy interests” that TCPA ostensibly serves).
               More than 41 million borrowers owe over one trillion
               dollars in federal student loans alone (not to speak of
               the many other types of government-backed loans
               available), and the government-debt exception
               authorizes intrusive debt-collection calls to each of
               those individuals. Id. at 17a-18a. Indeed, the
               Government itself affirmatively endorses such calls,



                   4   Other features of the TCPA likewise confirm that the
               automated-call provision is content-based and triggers strict
               scrutiny. For example, the broad exemption for any call or text
               message sent by any federal, state, or local government entity
               (and their agents) impermissibly favors government speech—
               advancing government interests—over other speech by ordinary
               citizens. See, e.g., Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622,
               658 (1994) (“[S]peaker-based laws demand strict scrutiny when
               they reflect the Government's preference for the substance of
               what the favored speakers have to say (or aversion to what the
               disfavored speakers have to say.”).
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20         Page 67 of 110 Page
                                    ID #:127




                                          15
               asserting that the exception could “save the federal
               government $120 million over ten years.” Pet. 13.
                   The TCPA’s other exemptions likewise undermine
               any claim that the automated-call ban advances a
               compelling interest. See Metromedia, Inc. v. City of
               San Diego, 453 U.S. 490, 520 (1981). For instance, as
               the Government emphasizes, “the federal government
               and its agencies” are not subject to the TCPA’s speech
               ban. Pet. 12. Government officials and contractors
               are thus allowed to make a broad range of automatic
               calls, from conducting research surveys to scheduling
               congressional town halls. The wholesale exemption
               for all government speakers and messages
               “undermine[s]” the statute’s “ameliorative effect” and
               shows that the privacy “justification” is “thin.” Italian
               Colors Restaurant v. Becerra, 878 F.3d 1165, 1177-78
               (9th Cir. 2018); see also Thomas v. Chicago Park Dist.,
               534 U.S. 316, 325 (2002) (“Granting waivers to
               favored speakers (or, more precisely, denying them to
               disfavored     speakers)    would     of    course     be
               unconstitutional . . . .”). The same goes for the
               statute’s other exemptions—as well as its open-ended
               delegation to the FCC to create still more. See supra
               at 4-5.
                   This Court has explained that when a speech
               restriction “leaves appreciable damage to [a]
               supposedly vital interest unprohibited,” it “cannot be
               regarded as protecting an interest of the highest
               order.” Reed, 135 S. Ct. at 2232 (quoting Republican
               Party of Minn. v. White, 536 U.S. 765, 780 (2002)).
               That is the case here. The Fourth Circuit thus
               correctly held that the automated-call provision is
               unconstitutional.
                   3. The Government raises a series of arguments
               challenging the Fourth Circuit’s constitutional
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20        Page 68 of 110 Page
                                    ID #:128




                                         16
               holding. See Pet. 6-14. Respondents will address
               those arguments in full on the merits, if and when
               certiorari is granted. But three quick points bear
               noting at this stage.
                   First, the government’s core argument—that the
               automated-call restriction is “content-neutral”
               because it is triggered by the call’s “economic purpose”
               (Pet. 6-11)—is inconsistent with this Court’s decision
               in Reed. There, the Court made clear that one way a
               statute can be “content-based” is when it “defin[es]
               regulated speech by its . . . purpose.” 135 S. Ct. at
               2227. That is what the TCPA does here, where the
               only way to determine whether the automated-call
               prohibition applies is to consider the content of the
               call—asking whether the call was “made for
               emergency purposes,” “to collect a debt owed to or
               guaranteed by the United States,” or for any of the
               other permissible content-based reasons. 47 U.S.C.
               § 227(b)(1)(A).
                   Second, the government’s attempt to avoid
               classifying the automated-call restriction as content-
               based has been soundly rejected by the Fourth and
               Ninth Circuits—the only federal courts of appeals to
               have addressed that issue. See Pet. App. 11a-22a;
               Duguid, 926 F.3d at 1153-56.
                   And third, the Government does not even try to
               challenge the Fourth Circuit’s conclusion that the
               automated-call ban fails strict scrutiny. In this Court,
               the Government’s only assertion is that strict scrutiny
               does not apply in the first place, because the TCPA’s
               speech restriction is not content-based. See Pet. 6-14.
               The Government’s unwillingness to defend the strict-
               scrutiny arguments it raised below is telling, and
               further confirms that the Fourth Circuit’s
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20        Page 69 of 110 Page
                                    ID #:129




                                         17
               constitutional analysis should be affirmed on the
               merits.
                  B.   The Remedial Issue Warrants Review
                   The Government’s petition also asks this Court to
               review the Fourth Circuit’s remedial holding, which
               left the TCPA’s speech restriction in place—even
               though it flunked strict scrutiny—and instead
               severed the government-debt exception. Pet. 14-15.
               Respondents agree that this Court should review the
               remedial question. This Court’s standard practice is
               to address the remedial consequences whenever it
               concludes that a federal statute is unconstitutional.
               See, e.g., Reed, 135 S. Ct. at 2231-33; Free Enter. Fund
               v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477,
               508-10 (2010); Ark. Writers’ Project, Inc. v. Ragland,
               481 U.S. 221, 233-34 (1987). And here, the remedial
               issue is independently certworthy, as the Fourth
               Circuit’s analysis contradicts decades of this Court’s
               precedent, creates a circuit split with multiple courts
               of appeals, and undermines core First Amendment
               and separation-of-powers principles.
                   1. It is black-letter law that when a statutory
               provision violates the Constitution, it must be
               invalidated. See, e.g., Free Enter., 561 U.S. at 508.
               The severability doctrine addresses whether other
               portions of a statute—which are perfectly
               constitutional on their own—must nonetheless also
               be invalidated because of their relationship to the
               unconstitutional provision.        As this Court has
               explained: “‘Generally speaking, when confronting a
               constitutional flaw in a statute, we try to limit the
               solution to the problem,’ severing any ‘problematic
               portions while leaving the remainder intact.’” Id.
               (citation omitted).
Case 2:20-cv-01068-FLA-PVC     Document 12-2 Filed 02/28/20         Page 70 of 110 Page
                                     ID #:130




                                          18
                   Here, respondents challenged the TCPA’s
               restriction on automated calls, 47 U.S.C.
               § 227(b)(1)(A)(iii). See supra at 8, 10; see also C.A.J.A.
               141      ¶2     (specifically     identifying      Section
               227(b)(1)(A)(iii) as the “cell phone call ban” being
               challenged in this action). That restriction is the
               “problematic portion[]” of the statute that violates the
               First Amendment’s prohibition on “abridging” speech.
               Free Enter., 561 U.S. at 508 (citation omitted); U.S.
               Const. amend. I. The restriction must therefore be set
               aside.
                   The Fourth Circuit concluded otherwise by
               mischaracterizing this case as a challenge to the
               government-debt exception, instead of to the
               automated-call restriction. Pet. App. 2a, 3a, 6a, 9a,
               10a. But that makes no sense. The First Amendment
               prohibits restrictions on speech—not exemptions
               from those restrictions that permit speech. The
               government-debt exception does not limit speech in
               any way. Moreover, that exception has no direct
               bearing on respondents whatsoever: Respondents are
               not government-debt collectors; they care only about
               alleviating the TCPA’s abridgement of their own
               speech; and they did not challenge the exception. As
               respondents have repeatedly explained, the
               exception’s role in this case is to help to establish that
               the restriction itself is content-based and
               unconstitutional. See supra at 8; Resps. C.A. Br. 12-
               17.
                   Because the Fourth Circuit mischaracterized the
               basis of respondents’ constitutional challenge, it went
               on to misapply this Court’s severability doctrine.
               Believing that the exception was unconstitutional, it
               severed that exception but left the underlying
               restriction intact. Pet. App. 22a-24a.
Case 2:20-cv-01068-FLA-PVC       Document 12-2 Filed 02/28/20               Page 71 of 110 Page
                                       ID #:131




                                              19
                   That was error. The government-debt exception
               does not restrict speech; it protects speech—and
               therefore does not violate the First Amendment. The
               Fourth Circuit’s ruling rewrites the statute in a way
               that makes more speech unlawful than Congress ever
               intended. That perverse result violates separation-of-
               powers principles and turns the First Amendment
               upside down.5
                   Instead of expanding the TCPA’s prohibition of
               speech, the Fourth Circuit should have invalidated
               and severed Section 227(b)(1)(A)(iii), leaving the
               TCPA’s other provisions—regulating other types of
               communications—intact. That approach would have
               implemented this Court’s settled severability doctrine
               while also heeding the Communications Act’s
               “Separability” provision, which directs that if any
               part of the TCPA “is held invalid, the remainder of the
               [statute] . . . shall not be affected thereby.” 47 U.S.C.
               § 608.
                   2. The Fourth Circuit’s severability analysis
               squarely conflicts with this Court’s consistent rulings
               in analogous First Amendment cases.                When
               concluding that the exceptions to a speech restriction
               show that the restriction is unconstitutional, this



                   5   The Fourth Circuit’s analysis also creates a significant
               due process problem, insofar as it threatens retroactive liability
               for any government-backed-debt collector who made
               unconsented communications before the Fourth Circuit
               invalidated and severed the automated-call provision.
               Penalizing such debt collectors for engaging in speech expressly
               protected by statute violates principles of fair notice. But
               exempting them (and only them) from liability resurrects the
               content-based distinction that the court’s misguided severability
               analysis sought to eliminate.
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20       Page 72 of 110 Page
                                    ID #:132




                                         20
               Court has consistently—and correctly—invalidated
               the restriction.
                   The most recent example is Reed, where this Court
               addressed a township “Sign Code” with a basic
               structure similar to the TCPA. The statute contained
               a blanket “prohibit[ion]” on “the display of outdoor
               signs anywhere within the Town,” but narrowed the
               prohibition with a series of “exemptions” based on
               “whether a sign convey[ed]” a “particular message.”
               Reed, 135 S. Ct. at 2224, 2227, 2231. As this Court
               explained, the “Sign Code [was] content based”
               because the existence of the various exemptions
               meant the prohibition on the display of outdoor
               “sign[s] . . . depend[ed] entirely on the communicative
               content of the sign.” Id. at 2227. The Court subjected
               the statute to strict scrutiny and held that the
               exceptions showed that the speech restriction was
               “hopelessly underinclusive” and thus unsupported by
               any compelling interest.          Id. at 2231.    Most
               importantly, after concluding that the statute was
               unconstitutional, the Reed Court—unlike the Fourth
               Circuit here—held the Sign Code’s restrictions on
               speech to be unconstitutional. The Court nowhere
               suggested that the First Amendment problem could
               be cured by simply severing the code’s exemptions and
               increasing the scope of the town’s restriction on
               speech. Cf. Pet. App. 22a-24a.
                   Another example is Arkansas Writers’ Project,
               where this Court considered a sales tax on magazines,
               which contained an exemption for “religious,
               professional, trade, or sports periodical[s].” 481 U.S.
               at 226 (citation omitted). The Court concluded that
               the state had “advanced no compelling justification”
               for this content-based taxation scheme. Id. at 234.
               But rather than strike down the exemption for certain
Case 2:20-cv-01068-FLA-PVC     Document 12-2 Filed 02/28/20         Page 73 of 110 Page
                                     ID #:133




                                          21
               types of magazines, the Court held that the “selective”
               taxation rendered “the tax . . . invalid under the First
               Amendment.” Id. (emphasis added).
                   Reed and Arkansas Writers’ Project align with
               decades of this Court’s First Amendment precedent,
               which invariably recognize that the correct remedy
               for a broad content-based restriction on speech that
               fails strict scrutiny is to strike down the offending
               restriction, not its exceptions. See, e.g., Sorrell v. IMS
               Health Inc., 564 U.S. 552, 563-66 (2011); Greater New
               Orleans Broad. Ass’n v. United States, 527 U.S. 173,
               190 (1999); City of Cincinnati v. Discovery Network,
               Inc., 507 U.S. 410, 430-31 (1993); Minneapolis Star &
               Tribune Co. v. Minn. Comm’r of Revenue, 460 U.S.
               575, 592-93 (1983); Carey v. Brown, 447 U.S. 455, 471
               (1980); First Nat’l Bank of Boston v. Bellotti, 435 U.S.
               765, 795 (1978); Police Dep’t of Chicago v. Mosley, 408
               U.S. 92, 102 (1972). The Fourth Circuit’s ruling
               departs from that settled law without justification.
                   3. The Fourth Circuit’s severability analysis also
               sharply conflicts with decisions of other courts of
               appeals, which faithfully apply this Court’s precedent
               to strike down restrictions—not exceptions—that
               unconstitutionally abridge speech based on content.
               See, e.g., Willson v. City of Bel-Nor, 924 F.3d 995,
               1000, 1004 (8th Cir. 2019); Rappa v. New Castle Cty.,
               18 F.3d 1043, 1072-74 (3d Cir. 1994) (Becker, J.,
               joined by Alito, J.); Dimmitt v. City of Clearwater, 985
               F.2d 1565, 1572 (11th Cir. 1993); Matthews v. Town
               of Needham, 764 F.2d 58, 61 (1st Cir. 1985) (Rosenn,
               Breyer, and Torruella, JJ.); Beckerman v. City of
               Tupelo, 664 F.2d 502, 513 (5th Cir. Unit A. Dec. 1981).
               In such cases, courts have recognized that the
               exceptions “betray[] the frailty of any potential state
               interests” and thus render the underlying restriction
Case 2:20-cv-01068-FLA-PVC     Document 12-2 Filed 02/28/20         Page 74 of 110 Page
                                     ID #:134




                                          22
               unconstitutional. Dana’s R.R. Supply v. Att’y Gen.,
               807 F.3d 1235, 1250 (11th Cir. 2015).
                  The clearest conflict is with the Third Circuit’s
               decision in Rappa.        There, the Third Circuit
               addressed a Delaware ordinance prohibiting most
               signs near state highways but exempting “signs
               advertising local industries, meetings, buildings,
               historical markers and attractions.” 18 F.3d at 1047.
               After    holding    that    the    statute     was    an
               unconstitutional content-based speech restriction, the
               court considered whether the exceptions could be
               severed in light of an express severability clause—
               which stated that “[i]f any provision of the Code . . . is
               held invalid, such invalidity shall not affect the
               provisions or application of this Code . . . that can be
               given effect without the invalid provisions or
               application.” Id. at 1072 (citation omitted).
                  Although the Third Circuit recognized that “the
               rest of the statute could surely function
               independently” if the exceptions were severed, it
               nonetheless concluded that severance would be
               inappropriate. Id. at 1072-73. The court explained
               that the “severability inquiry here has a
               constitutional dimension,” because eliminating the
               exception “would . . . restrict more speech than [the
               law] currently does.” Id. The court concluded “that
               the proper remedy for content discrimination
               generally cannot be to sever the statute so that it
               restricts more speech than it did before—at least
               absent quite specific evidence of a legislative
               preference for elimination of the exception.” Id. at
               1073 (emphasis added).
                  The Fourth Circuit’s ruling is also in sharp tension
               with the Eleventh Circuit’s decision in Dimmitt.
               There, the court considered a municipal sign code that
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20         Page 75 of 110 Page
                                    ID #:135




                                          23
               exempted flags, so long as those flags “represent[ed] a
               governmental unit or body.” Dimmitt, 985 F.2d at
               1568 (citation omitted). The court first held that this
               content-based distinction failed strict scrutiny. Id. at
               1572. It went on to conclude that the district court
               had erred in invalidating only “the exemption for a
               limited number of flags”—a remedy that would
               “leave[] [the challenger] in a worse position than if the
               City had prevailed.” Id. (emphasis added). The
               Eleventh Circuit explained that the district court’s
               error stemmed from treating the exemption “as if this
               section itself prohibited” speech. Id. Instead, the
               court reasoned, the broad prohibition “must also be
               declared unconstitutional.” Id. That is the exact
               opposite of what the Fourth Circuit did here.
                   To be sure, the Fourth Circuit’s severability
               analysis has now been adopted by the Ninth Circuit
               in Duguid v. Facebook, Inc., 926 F.3d 1146 (9th Cir.
               2019), and Gallion v. United States, 772 F. App’x 604
               (9th Cir. 2019). Like the Fourth Circuit, the Ninth
               Circuit held the TCPA to be impermissibly content-
               based and thus unconstitutional. Duguid, 926 F.3d at
               1152-56; Gallion, 772 F. App’x at 605-06. And also
               like this case, the Ninth Circuit’s remedy was to
               expand the TCPA’s speech ban by severing the
               government-debt-collection exception, because, in the
               court’s view, “[e]xcising the debt-collection exception
               preserves the fundamental purpose of the TCPA and
               leaves” a “content-neutral TCPA.” Duguid, 926 F.3d
               at 1157; see also Gallion, 772 F. App’x at 606.
                   But as Facebook and Charter point out in their
               respective petitions for certiorari, the Ninth Circuit’s
               severability rulings reflect the same core error at the
               heart of the Fourth Circuit’s ruling here. Both courts
               mistakenly treated the challenge as being to the
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20         Page 76 of 110 Page
                                    ID #:136




                                          24
               government-debt exception, instead of to Section
               227(b)(1)(A)(iii)’s underlying restriction. And both
               courts purported to fix a First Amendment violation
               by abridging more speech. See Facebook Pet. 16-21;
               Facebook Pet. Reply 3, 5-6; Gallion Pet. 9-21.
                    4. Finally, the Fourth Circuit’s severability ruling
               creates significant practical problems. Severing a
               speech-promoting exception (and leaving the
               restriction intact) means “individuals would lose
               much       of    their    incentives     to    challenge
               [unconstitutional] statutes.” Rappa, 18 F.3d at 1073.
               After all, parties burdened by a speech restriction
               would have no reason to challenge it if the sole
               “remedy” were to impose the same burden on others.
               That result contradicts the bedrock principle that
               courts must employ remedies that “create
               ‘[]incentive[s] to raise [constitutional] challenges.’”
               Lucia v. SEC, 138 S. Ct. 2044, 2055 n.5 (2018) (first
               two alterations in original) (citation omitted). The
               overall impact of the Fourth Circuit’s misguided
               approach is to insulate unconstitutional statutes from
               judicial review.
                    The      Government      admits—and         actually
               embraces—this result. In this case, Duguid, and
               Gallion, the Government repeatedly urged the lower
               courts not to address the constitutional question
               precisely because respondents could not obtain relief
               under its (erroneous) severability analysis. See
               C.A.J.A. 58-60; United States Petition for Panel
               Rehearing and Rehearing En Banc 7, Duguid v.
               Facebook, Inc., No. 17-15320 (9th Cir. filed July 29,
               2019), ECF No. 82-1; United States Petition for Panel
               Rehearing and Rehearing En Banc 6-9, Gallion v.
               Charter Commc’ns, Inc., No. 18-55667 (9th Cir. filed
               Aug. 22, 2019), ECF No. 61; see also Pet. 15. As the
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20        Page 77 of 110 Page
                                    ID #:137




                                         25
               Government well knows, the inevitable result of
               applying severability principles in this way is to allow
               unconstitutional statutes to stay on the books—and to
               continue chilling valued speech at the heart of the
               First Amendment.          This Court should not
               countenance that result.
                                     *      *      *
                   For the reasons noted above, respondents fully
               support granting the Government’s petition,
               encompassing both the constitutionality and remedial
               issues. Nonetheless, the Court may wish to reframe
               the question presented to more accurately capture the
               core constitutional question at the heart of this case.
               As explained above, the issue is not “[w]hether the
               government-debt exception to the TCPA’s automated-
               call restriction violates the First Amendment,” (Pet. I
               (emphasis added)) but rather whether the restriction
               is unconstitutional. See supra at 8, 10, 18-19. If the
               Court wishes to reformulate the question, it could ask
               the parties to address “Whether the TCPA’s
               automated-call prohibition is an unconstitutional
               content-based restriction of speech, and if so whether
               the Fourth Circuit erred in addressing the
               constitutional     violation    by    broadening     the
               prohibitions to abridge more speech.” See supra at i.
                   In addition to granting certiorari in this case, the
               Court should also grant review in Facebook, because
               that case raises a related statutory question about the
               breadth of the TCPA’s automated-caller provision—
               specifically, the proper interpretation of the statutory
               definition of ATDS. Supra at 10-11. Respondents
               agree with Facebook that the Ninth Circuit’s
               statutory holding exacerbates the constitutional flaws
               of the statute and is clearly wrong and at odds with
               decisions by the Third and D.C. Circuits. Facebook
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20       Page 78 of 110 Page
                                   ID #:138




                                        26
               Pet. 23-34; Facebook Pet. Reply 6-9. Indeed, the
               statutory issue is frequently litigated and has
               generated a remarkable 38-28 split among district
               courts across the country. Alexis Kramer, Facebook
               Robocall Case Gives Justices Shot to Define
               Autodialer, Bloomberg L. News (Oct. 28, 2019).
               Respondents also agree with Facebook that in
               determining whether the automated-call prohibition
               satisfies strict scrutiny, it would be helpful to know
               precisely what that prohibition covers. See Facebook
               Pet. Reply 6-8.
                   Given the TCPA’s overarching importance—and
               its broad chilling effect on speech—this Court should
               take this opportunity to review all major outstanding
               constitutional and statutory questions about the
               meaning and validity of the TCPA’s automated-call
               ban. It should grant Facebook’s petition alongside the
               Government’s petition here, and hear oral argument
               in both cases.
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20      Page 79 of 110 Page
                                   ID #:139




                                        27
                                  CONCLUSION
                  The petition for a writ of certiorari should be
               granted.

                                         Respectfully submitted,

               WILLIAM E. RANEY          ROMAN MARTINEZ
               KELLIE MITCHELL BUBECK     Counsel of Record
                COPILEVITZ, LAM &        ANDREW B. CLUBOK
                 RANEY, P.C.             SUSAN E. ENGEL
               310 W. 20th Street        TYCE R. WALTERS
               Suite 300                 SAMIR DEGER-SEN
               Kansas City, MO 64108     GREGORY B. IN DEN BERKEN
               (816) 472-9000            LATHAM & WATKINS LLP
                                         555 Eleventh Street, NW
                                         Suite 1000
                                         Washington, DC 20004
                                         (202) 637-2200
                                         roman.martinez@lw.com

                             Counsel for Respondents

               December 4, 2019
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20   Page 80 of 110 Page
                                   ID #:140




              EXHIBIT E
  CaseBARR
19-631 2:20-cv-01068-FLA-PVC  Document 12-2 Filed 02/28/20
             V. POLITICAL CONSULTANTS                              Page 81 of 110 Page
                                    ID #:141
DECISION BELOW: 923 F.3d 159
LOWER COURT CASE NUMBER: 18-1588

QUESTION PRESENTED:

       The Telephone Consumer Protection Act of 1991 (TCPA), Pub. L. No. 102-243,
105 Stat. 2394, generally prohibits the use of any "automatic telephone dialing system
or an artificial or prerecorded voice" to "make any call" to "any telephone number
assigned to a * * * cellular telephone service." 47 U.S.C. 227(b)(1)(A)(iii) (Supp. V
2017). The TCPA excepts from that automated-call restriction any "call made for
emergency purposes or made with the prior express consent of the called party." Ibid.
In 2015, Congress amended the TCPA to create an additional exception for calls "made
solely to collect a debt owed to or guaranteed by the United States." Ibid.
       Respondents wish to use an automatic telephone dialing system or an artificial
or prerecorded voice to make calls to the cell phones of potential or registered voters
to solicit political donations and to advise on political and governmental issues. First
Am. Compl. ¶¶ 8-10, 12. The court of appeals held that the government-debt exception
to the TCPA’s automated-call restriction violates the First Amendment. The court further
held that the proper remedy was to sever the government-debt exception, leaving the
basic automated-call restriction in place. The question presented is as follows:
       Whether the government-debt exception to the TCPA's automated-call restriction
violates the First Amendment, and whether the proper remedy for any constitutional
violation is to sever the exception from the remainder of the statute.




CERT. GRANTED 1/10/2020
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20   Page 82 of 110 Page
                                   ID #:142




              EXHIBIT F
        Case 2:20-cv-01068-FLA-PVC
                 Case 3:16-cv-00751-WHO
                                     Document
                                        Document
                                              12-2127Filed
                                                        Filed
                                                            02/28/20
                                                              01/30/20 Page
                                                                        Page83
                                                                             1 of 6
                                                                                  110 Page
                                           ID #:143

                   1   Elizabeth L. Deeley (Bar No. 230798)
                        elizabeth.deeley@lw.com
                   2   Melanie M. Blunschi (Bar No. 234264)
                        melanie.blunschi@lw.com
                   3   LATHAM & WATKINS LLP
                       505 Montgomery Street, Suite 2000
                   4   San Francisco, CA 94111
                       415.391.0600 / 415.395.8095 (Fax)
                   5
                       Andrew B. Clubok (pro hac vice)
                   6    andrew.clubok@lw.com
                       Susan E. Engel (pro hac vice)
                   7    susan.engel@lw.com
                       LATHAM & WATKINS LLP
                   8   555 Eleventh Street, NW, Suite 1000
                       Washington, D.C. 20004
                   9   202.637.2200 / 202.637.2201 (Fax)

               10      Counsel for Defendant Facebook, Inc.

               11      Additional Counsel on Signature Page

               12                               UNITED STATES DISTRICT COURT
               13                            NORTHERN DISTRICT OF CALIFORNIA
               14                                   SAN FRANCISCO DIVISION
               15      COLIN R. BRICKMAN, individually and on    CASE NO. 3:16-cv-00751-WHO
                       behalf of a class of similarly situated
               16      individuals,                              STIPULATION AND ORDER TO
                                                                 ADJOURN CASE MANAGEMENT
               17                      Plaintiff,                CONFERENCE, VACATE CASE
                                                                 MANAGEMENT STATEMENT DEADLINE,
               18            v.                                  AND STAY CASE PENDING DECISION IN
                                                                 FACEBOOK, INC. V. DUGUID, NO. 19-511
               19      FACEBOOK, INC.,                           (S. CT.)
               20                      Defendant.                Judge:   Hon. William H. Orrick
               21

               22

               23

               24

               25

               26
               27

               28

                                                                                STIP. AND ORDER
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                                              TO STAY CASE
                                                                                CASE NO. 16-CV-00751-WHO
        Case 2:20-cv-01068-FLA-PVC
                 Case 3:16-cv-00751-WHO
                                     Document
                                        Document
                                              12-2127Filed
                                                        Filed
                                                            02/28/20
                                                              01/30/20 Page
                                                                        Page84
                                                                             2 of 6
                                                                                  110 Page
                                           ID #:144

                   1           Defendant Facebook, Inc., and Plaintiff Colin Brickman (herein “Parties”) jointly and

                   2   respectfully agree and request that the Court adjourn the currently scheduled case management

                   3   conference, vacate the case management statement deadline, and stay this matter for the limited

                   4   time until the pending Petition for Writ of Certiorari is resolved in Facebook, Inc. v. Duguid, No.

                   5   19-511 (S. Ct.).1 The Parties will notify this Court within 14 days of the Supreme Court’s order

                   6   granting, denying, holding in abeyance, or otherwise disposing of Facebook’s currently pending

                   7   Petition for Writ of Certiorari in Facebook v. Duguid and outline their respective positions for the

                   8   orderly litigation of this case.

                   9           On January 10, 2020, the Supreme Court granted review of the certiorari petition in Barr

               10      v. American Association of Political Consultants, Inc. (AAPC), No. 19-631 (S. Ct.), https://

               11      www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-631.html.            In

               12      AAPC, the Supreme Court will decide “[w]hether the government-debt exception to the TCPA’s

               13      automated-call restriction violates the First Amendment, and whether the proper remedy for any

               14      constitutional violation is to sever the exception from the remainder of the statute.” No. 19-631

               15      (S. Ct.), Question Presented, https://www.supremecourt.gov/qp/19-00631qp.pdf. The Supreme

               16      Court is expected to issue its decision in AAPC no later than June of 2020.

               17              In addition to AAPC, pending before the Supreme Court is a certiorari petition in the

               18      Facebook v. Duguid case that presents the same constitutionality question, as well as a question

               19      about the statutory meaning of the TCPA’s automated call-restriction. Facebook v. Duguid, No.

               20      19-511 (S. Ct.). The Supreme Court considered the Facebook v. Duguid petition at its conference

               21      on January 24, 2020, but has not yet announced its decision as to the petition.

               22              Given that the Supreme Court’s resolution of Facebook. v. Duguid may impact this case,

               23      the parties agree that adjourning the case management conference, vacating the case management

               24      statement deadline, and staying the matter pending the resolution of the certiorari petition in

               25

               26
               27
                       1
                         The docket for Facebook, Inc. v. Duguid, No. 19-511 (S. Ct.), is publicly available at
               28      https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-
                       511.html.
                                                                                        STIP. AND ORDER
ATTORNEYS AT LAW
 SAN FRANCISCO                                                       1                                  TO STAY CASE
                                                                                       CASE NO. 16-CV-00751-WHO
        Case 2:20-cv-01068-FLA-PVC
                 Case 3:16-cv-00751-WHO
                                     Document
                                        Document
                                              12-2127Filed
                                                        Filed
                                                            02/28/20
                                                              01/30/20 Page
                                                                        Page85
                                                                             3 of 6
                                                                                  110 Page
                                           ID #:145

                   1   Facebook v. Duguid will conserve judicial resources and avoid needless expenses. The parties

                   2   thus STIPULATE that:

                   3          1.     The proposed limited stay until the Supreme Court issues an order granting,

                   4                 denying, holding in abeyance, or otherwise disposing of the pending certiorari

                   5                 petition in Facebook, Inc. v. Duguid, is appropriate, will not prejudice either party,

                   6                 will conserve judicial resources, and will best serve the orderly course of justice;

                   7          2.     The following dates should be vacated: (i) the case management conference

                   8                 scheduled for February 4, 2020, and (ii) the case management statement deadline

                   9                 of January 28, 2020;2 and,

               10             3.     The parties will notify this Court of the Supreme Court’s order granting, denying,

               11                    holding in abeyance, or otherwise disposing of the pending certiorari petition in

               12                    Facebook v. Duguid within 14 days, and will include in that notice a proposal for

               13                    next steps in this case.

               14             IT IS SO STIPULATED.

               15      Dated: January 28, 2020                          Respectfully submitted,

               16                                                       /s/ Melanie M. Blunschi
                        Andrew B. Clubok (pro hac vice)                 Melanie M. Blunschi ((Bar No. 234264)
               17       Susan E. Engel (pro hac vice)                   Elizabeth L. Deeley (Bar No. 230798)
                        LATHAM & WATKINS LLP                            LATHAM & WATKINS LLP
               18       555 Eleventh Street, NW                         505 Montgomery Street
                        Suite 1000                                      Suite 2000
               19       Washington, D.C. 20004-1304                     San Francisco, CA 94111-6538
                        Telephone: (202) 637-2200                       Telephone: (415) 395-8233
               20       Fax: (202) 637-2201                             Fax: (415) 395-8095
                        Email: andrew.clubok@lw.com                     Email: elizabeth.deeley@lw.com
               21              susan.engel@lw.com                               melanie.blunschi@lw.com
               22
                                                    Counsel for Defendant Facebook, Inc.
               23

               24

               25

               26
               27
                          2
                             The Court’s approval of this Stipulation would also moot Facebook’s pending motion to
               28      adjourn case management conference and vacate case management statement deadline (ECF No.
                       124).
                                                                                         STIP. AND ORDER
ATTORNEYS AT LAW
 SAN FRANCISCO                                                         2                               TO STAY CASE
                                                                                         CASE NO. 16-CV-00751-WHO
        Case 2:20-cv-01068-FLA-PVC
                 Case 3:16-cv-00751-WHO
                                     Document
                                        Document
                                              12-2127Filed
                                                        Filed
                                                            02/28/20
                                                              01/30/20 Page
                                                                        Page86
                                                                             4 of 6
                                                                                  110 Page
                                           ID #:146

                   1                                                /s/ Patrick J. Perotti
                       Hassan Ali Zavareei                          Frank A. Bartela
                   2   Andrea R. Gold                               Patrick J. Perotti
                       TYCKO & ZAVAREEI LLP                         DWORKEN & BERNSTEIN CO., L.P.A
                   3   1828 L Street, N.W., Suite 1000              60 South Park Place
                       Washington, DC 20036                         Painesville, OH 44077
                   4   (202) 973-0900                               440-352-3391
                       Fax: (202) 973-0950                          Fax: 440-352-3469
                   5   Email: agold@tzlegal.com                     Email: pperotti@dworkenlaw.com
                              hzavareei@tzlegal.com                         fbartela@dworkenlaw.com
                   6

                   7                             Counsel for Plaintiff Colin R. Brickman

                   8

                   9

               10

               11

               12

               13

               14

               15

               16

               17

               18

               19

               20

               21

               22

               23

               24

               25

               26
               27

               28

                                                                                           STIP. AND ORDER
ATTORNEYS AT LAW
 SAN FRANCISCO                                                       3                                   TO STAY CASE
                                                                                           CASE NO. 16-CV-00751-WHO
        Case 2:20-cv-01068-FLA-PVC
                 Case 3:16-cv-00751-WHO
                                     Document
                                        Document
                                              12-2127Filed
                                                        Filed
                                                            02/28/20
                                                              01/30/20 Page
                                                                        Page87
                                                                             5 of 6
                                                                                  110 Page
                                           ID #:147

                   1                                            ATTESTATION

                   2          In compliance with Local Rule 5-1(i)(3), I attest that I am the ECF user whose identification

                   3   and password is being used to file this Stipulation and [Proposed] Order to Adjourn Case

                   4   Management Conference, Vacate Case Management Statement Deadline, and Stay Case Pending

                   5   Decision in Facebook, Inc. v. Duguid, No. 19-511 (S. Ct.), and that all signatories on whose behalf

                   6   this filing is submitted concur in its content and have authorized its filing.

                   7   Dated: January 28, 2020                            /s/ Melanie M. Blunschi
                                                                          Melanie M. Blunschi
                   8

                   9

               10

               11

               12

               13

               14

               15

               16

               17

               18

               19

               20

               21

               22

               23

               24

               25

               26
               27

               28

                                                                                                STIP. AND ORDER
ATTORNEYS AT LAW
 SAN FRANCISCO                                                             4                                  TO STAY CASE
                                                                                                CASE NO. 16-CV-00751-WHO
        Case 2:20-cv-01068-FLA-PVC
                 Case 3:16-cv-00751-WHO
                                     Document
                                        Document
                                              12-2127Filed
                                                        Filed
                                                            02/28/20
                                                              01/30/20 Page
                                                                        Page88
                                                                             6 of 6
                                                                                  110 Page
                                           ID #:148

                   1                                                  ORDER

                   2          Upon consideration of the parties’ Stipulation to Adjourn Case Management Conference,

                   3   Vacate Case Management Statement Deadline, and Stay Case Pending Decision in Facebook, Inc.

                   4   v. Duguid, No. 19-511 (S. Ct.), the Court finds that good cause for the requested stay has been

                   5   shown and GRANTS the parties’ Stipulation.

                   6          This case is hereby STAYED pending the Supreme Court’s forthcoming Order on the
                   7   pending certiorari petition in Facebook v. Duguid. All case deadlines are thus vacated. The parties
                   8   shall notify the Court within 14 days of the Supreme Court’s order granting, denying, holding in

                   9   abeyance, or otherwise disposing of the pending certiorari petition in Facebook v. Duguid, and
               10      will include in that notice a proposal for next steps in the case.
               11

               12      PURSUANT TO STIPULATION, IT IS SO ORDERED.
               13

               14      Dated: January ___, 2020
                                                                          Hon. William H. Orrick
               15                                                         United States District Judge
               16

               17

               18

               19

               20

               21

               22

               23

               24

               25

               26
               27

               28

                                                                                               STIP. AND ORDER
ATTORNEYS AT LAW
 SAN FRANCISCO                                                             5                                TO STAY CASE
                                                                                              CASE NO. 16-CV-00751-WHO
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20   Page 89 of 110 Page
                                   ID #:149




             EXHIBIT G
2/27/2020Case 2:20-cv-01068-FLA-PVC                       Document     12-2 Court
                                                             Search - Supreme  Filed
                                                                                  of the02/28/20
                                                                                        United States      Page 90 of 110 Page
                                                                   ID #:150




                                                       Search documents in this case:                                      Search


          No. 19-511

          Title:                                   Facebook, Inc., Petitioner
                                                   v.
                                                   Noah Duguid, et al.

          Docketed:                                October 21, 2019

          Lower Ct:                                United States Court of Appeals for the Ninth Circuit

            Case Numbers:                          (17-15320)

            Decision Date:                         June 13, 2019

            Rehearing Denied:                      August 22, 2019




          DATE                                     PROCEEDINGS AND ORDERS

          Oct 17 2019                              Petition for a writ of certiorari filed. (Response due November 20, 2019)

                                                   Petition       Appendix         Certificate of Word
                                                   Count        Proof of Service

          Nov 07 2019                              Blanket Consent filed by Petitioner, Facebook, Inc.

                                                   Blanket Consent

          Nov 18 2019                              Waiver of right of respondent Noah Duguid to respond filed.

                                                   Main Document

          Nov 20 2019                              Brief amicus curiae of Credit Union National Association, Inc. filed.

                                                   Main Document           Certificate of Word Count        Proof of
                                                   Service

          Nov 20 2019                              Brief of respondent United States filed.

                                                   Main Document           Certificate of Word Count

          Nov 20 2019                              Brief amici curiae of Midland Credit Management, Inc. and Encore Capital
                                                   Group, Inc. filed.




https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-511.html                                       1/4
2/27/2020Case 2:20-cv-01068-FLA-PVC                       Document     12-2 Court
                                                             Search - Supreme  Filed
                                                                                  of the02/28/20
                                                                                        United States        Page 91 of 110 Page
                                                                   ID #:151


                                                   Main Document           Certificate of Word Count              Proof of
                                                   Service

          Nov 20 2019                              Brief amici curiae of Chamber of Commerce of the United States of America
                                                   and Business Roundtable filed.

                                                   Main Document           Certificate of Word Count              Proof of
                                                   Service

          Nov 20 2019                              Brief amicus curiae of ACA International, Inc. filed.

                                                   Main Document           Proof of Service         Certificate of
                                                   Word Count

          Nov 20 2019                              Brief amicus curiae of Retail Litigation Center, Inc. filed.

                                                   Main Document           Certificate of Word Count              Proof of
                                                   Service

          Nov 25 2019                              Waiver of the 14-day waiting period under Rule 15.5 filed.

                                                   Main Document

          Nov 26 2019                              DISTRIBUTED for Conference of 12/13/2019.



          Dec 02 2019                              Reply of petitioner Facebook, Inc. filed. (Distributed)

                                                   Main Document           Certificate of Word Count              Proof of
                                                   Service

          Dec 04 2019                              Response Requested. (Due January 3, 2020)



          Jan 03 2020                              Brief of respondent Noah Duguid in opposition filed.

                                                   Main Document           Certificate of Word Count              Proof of
                                                   Service

          Jan 06 2020                              Letter waiving the 14-day waiting period for the distribution of the petition
                                                   pursuant to Rule 15.5 filed.

                                                   Main Document

          Jan 08 2020                              DISTRIBUTED for Conference of 1/24/2020.



          Jan 10 2020                              Reply of petitioner Facebook, Inc. filed. (Distributed)

                                                   Main Document           Certificate of Word Count              Proof of
                                                   Service




https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-511.html                                      2/4
2/27/2020Case 2:20-cv-01068-FLA-PVC                       Document     12-2 Court
                                                             Search - Supreme  Filed
                                                                                  of the02/28/20
                                                                                        United States        Page 92 of 110 Page
                                                                   ID #:152



          NAME                                     ADDRESS                                      PHONE

          Attorneys for Petitioner

          Paul D. Clement                          Kirkland & Ellis LLP                         2023895000
             Counsel of Record                     1301 Pennsylvania Avenue, NW
                                                   Washington, DC 20004


                                                   paul.clement@kirkland.com

          Party name: Facebook, Inc.

          Attorneys for Respondents

          Noel J. Francisco                        Solicitor General                            202-514-2217
            Counsel of Record                      United States Department of Justice
                                                   950 Pennsylvania Avenue, NW
                                                   Washington, DC 20530-0001


                                                   SupremeCtBriefs@USDOJ.gov

          Party name: United States

          Sergei Lemberg                           Lemberg Law, LLC                             203-653-2250
                                                   43 Danbury Road
                                                   Wilton, CT 06897

                                                   slemberg@lemberglaw.com

          Party name: Noah Duguid

          Other

          Shay Dvoretzky                           Jones Day                                    2028793474
            Counsel of Record                      51 Louisiana Avenue NW
                                                   Washington, DC 20001-2113


                                                   sdvoretzky@jonesday.com

          Party name: Chamber of Commerce of the United States of America and Business Roundtable

          Julian Richard Ellis Jr.                 Brownstein Hyatt Farber Schreck,             303-223-1142
            Counsel of Record                      LLP
                                                   410 17th Street, Suite 2200
                                                   Denver, CO 80202

                                                   jellis@bhfs.com

          Party name: Credit Union National Association, Inc.




https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-511.html                                      3/4
2/27/2020Case 2:20-cv-01068-FLA-PVC                       Document     12-2 Court
                                                             Search - Supreme  Filed
                                                                                  of the02/28/20
                                                                                        United States      Page 93 of 110 Page
                                                                   ID #:153


          Joseph Russell Palmore                   Morrison & Foerster LLP                      202-887-6940
            Counsel of Record                      2000 Pennsylvania Ave., NW
                                                   Washington, DC 20006

                                                   jpalmore@mofo.com

          Party name: Retail Litigation Center, Inc.

          Zachary Charles Schauf                   Jenner & Block, LLP                          202-637-6379
             Counsel of Record                     1099 New York Ave., NW
                                                   Washington, DC 20001


                                                   ZSchauf@jenner.com

          Party name: Midland Credit Management, Inc. and Encore Capital Group, Inc.

          Steven Gregory White                     Gray Reed & McGraw LLP                       214-954-4135
             Counsel of Record                     1601 Elm Street
                                                   Suite 4600
                                                   Dallas, TX 75201


                                                   gwhite@grayreed.com

          Party name: ACA International, Inc.




https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-511.html                                    4/4
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20   Page 94 of 110 Page
                                   ID #:154




             EXHIBIT H
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20    Page 95 of 110 Page
                                   ID #:155




                                  No. _______

                                     In the
               Supreme Court of the United States
                 CHARTER COMMUNICATIONS, INC. AND SPECTRUM
                    MANAGEMENT HOLDING COMPANY, LLC,
                                       Petitioners,
                                    v.
                              STEVE GALLION
                                       Respondent,
                                   and
                       THE UNITED STATES OF AMERICA,
                                       Respondent-Intervenor.

                     ON PETITION FOR A WRIT OF CERTIORARI
                    TO THE UNITED STATES COURT OF APPEALS
                            FOR THE NINTH CIRCUIT


                  PETITION FOR A WRIT OF CERTIORARI

                                         RICHARD P. BRESS
                                          Counsel of Record
                                         MATTHEW A. BRILL
                                         ANDREW D. PRINS
                                         NICHOLAS L. SCHLOSSMAN
                                         LATHAM & WATKINS LLP
                                         555 Eleventh Street, NW
                                         Suite 1000
                                         Washington, DC 20004
                                         (202) 637-2200
                                         rick.bress@lw.com
                              Counsel for Petitioners
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20        Page 96 of 110 Page
                                    ID #:156




                             QUESTION PRESENTED
                  The Telephone Consumer Protection Act (TCPA)
               imposes liability of up to $1,500 per call for any call
               made without prior express consent to a cell phone
               using an automatic telephone dialing system or an
               artificial or prerecorded voice.          These broad
               prohibitions on speech, however, contain a host of
               exceptions, including for calls made “to collect a debt
               owed to or guaranteed by the United States” and calls
               made by governmental entities, along with various
               additional content-based exceptions created by the
               Federal Communications Commission (FCC). 47
               U.S.C. § 227(b)(1)(A)(iii), (b)(2)(B).
                  In the decision below, the Ninth Circuit held that
               the TCPA’s restrictions on speech were content-based
               and not narrowly tailored to any compelling
               government interest. Accordingly, the court held that
               the statute violated the First Amendment. But
               instead of holding the statute invalid for its
               unconstitutional prohibitions of speech, the court
               invoked the extraordinary “remedy” of rewriting the
               statute to prohibit more speech. Specifically, the
               Ninth Circuit purported to cure the constitutional
               defect by “severing” the government-debt-collection
               exception from the statute, while leaving all of the
               statute’s speech restrictions intact. In the name of the
               First Amendment, the Ninth Circuit thereby
               judicially expanded the TCPA’s abridgment of speech.
                  The question presented is:
                  Whether the TCPA’s prohibitions on calls made
               using an automatic dialing system or an artificial or
               prerecorded voice are unconstitutional content-based
               restrictions of speech, and if so whether the Ninth
               Circuit erred in “remedying” that constitutional
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20     Page 97 of 110 Page
                                   ID #:157




                                       ii
               violation by broadening the prohibitions to abridge
               more speech.
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20   Page 98 of 110 Page
                                   ID #:158




               EXHIBIT I
Case 2:20-cv-01068-FLA-PVC     Document 12-2 Filed 02/28/20   Page 99 of 110 Page
                                     ID #:159


 (ORDER LIST: 589 U.S.)


                              MONDAY, JANUARY 27, 2020



                          CERTIORARI -- SUMMARY DISPOSITION

 19-6684      DAVIS, RAKEEM A. V. UNITED STATES

                  The motion of petitioner for leave to proceed in forma

              pauperis and the petition for a writ of certiorari are granted.

              The judgment is vacated, and the case is remanded to the United

              States Court of Appeals for the Eleventh Circuit for further

              consideration in light of Rehaif v. United States, 588 U. S. ___

              (2019).

                              ORDERS IN PENDING CASES

 19A729       ROBERTS, COMFORT D. V. TEXAS
 (19-6971)
                  The application to recall and stay mandate addressed to

              Justice Sotomayor and referred to the Court is denied.

 19M92        OWENS, JULIAN D. V. UNIVERSITY OF SC, ET AL.

                  The motion to direct the Clerk to file a petition for a writ

              of certiorari out of time is denied.

 19M93        PATTERSON, MAECHEL S. V. USDC ED NC

                  The motion for leave to proceed as a veteran is denied.

 19M94        SANTA, ERASMO V. HERR, MARIA T., ET AL.

                  The motion to direct the Clerk to file a petition for a writ

              of certiorari out of time under Rule 14.5 is denied.

 65, ORIG.    TEXAS V. NEW MEXICO

                   The motion for review of the River Master's final

              determination is set for oral argument in due course.




                                         1
Case 2:20-cv-01068-FLA-PVC       Document 12-2 Filed 02/28/20    Page 100 of 110
                                  Page ID #:160


142, ORIG.    FLORIDA v. GEORGIA

                  The Second Report of the Special Master is received and

              ordered filed.    Exceptions to the Report, with supporting

              briefs, may be filed within 45 days.    Replies, if any, with

              supporting briefs, may be filed within 30 days.   Sur-replies, if

              any, with supporting briefs, may be filed within 30 days.     The

              motion for allowance of fees and disbursements filed by the

              Special Master’s assistant is granted, and the Special Master’s

              assistant is awarded a total of $10,036.43, for the period

              November 6, 2018, through December 5, 2019, to be paid equally

              by the parties.

18-9526       McGIRT, JIMCY V. OKLAHOMA

                 The motion for appointment of counsel is granted, and Ian H.

              Gershengorn, Esq., of Washington, D.C., is appointed to serve as

              counsel for petitioner.

19-373        WALKER, JAMES V. UNITED STATES

                  It appearing that petitioner died on January 22, 2020, the

              petition for a writ of certiorari is dismissed.

19-465    )   CHIAFALO, PETER B., ET AL. V. WASHINGTON
          )
19-518    )   CO DEPT. OF STATE V. BACA, MICHEAL, ET AL.

                  Petitioners in No. 19-465 and respondents in No. 19-518

              shall file opening and reply briefs on the merits under the

              schedule set forth in Rules 25.1 and 25.3.    Respondent in

              No. 19-465 and petitioner in No. 19-518 shall file response

              briefs on the merits under the schedule set forth in Rule 25.2.

19-648        CACI PREMIER TECHNOLOGY, INC. V. AL SHIMARI, SUHAIL N. A., ET AL.

                  The Solicitor General is invited to file a brief in this

              case expressing the views of the United States.


                                          2
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20      Page 101 of 110
                              Page ID #:161


                             CERTIORARI DENIED

19-353     TRADING TECHNOLOGIES INT'L V. IBG LLC, ET AL.

19-510     GOMEZ, JOSE J. V. BARR, ATT'Y GEN.

19-517     BARBOSA, DANIEL, ET AL. V. DEPT. OF HOMELAND SEC., ET AL.

19-522     TRADING TECHNOLOGIES INT'L V. IBG LLC, ET AL.

19-534     KADRIA, LAHIM V. BARR, ATT'Y GEN.

19-551     CALZONE, RONALD V. OLSON, ERIC

19-574     POOLE, SHEILA J. V. NY CITIZENS' COALITION

19-582     EDMONDSON, SARA A. V. LILLISTON FORD INC., ET AL.

19-651     DeROSE, JOHN P. V. ORLAND PARK, IL, ET AL.

19-654     KALEIDA HEALTH V. BIONDO, KATHLEEN

19-658     J. G. V. HI DEPT. OF ED., ET AL.

19-660     SILVER, DAVID V. HAMRICK & EVANS, LLP

19-674     MARTIN, JAMES L. V. NATIONAL GENERAL ASSURANCE CO.

19-681     SHALABY, ANDREW W. V. USDC ND IL

19-683     MOSS, JERMAINE L. V. ATKINSON, WARDEN

19-684     SAUNDERS, DARRELL, ET UX. V. DEUTSCHE BANK NATIONAL TRUST CO.

19-696     HAENDEL, DAN V. REED, ANNE, ET AL.

19-697     PAVATT, JAMES D. V. SHARP, INTERIM WARDEN

19-700     RAMOS GONZáLEZ, LUIS A., ET AL. V. SCOTIABANK DE PR, ET AL.

19-705     SHARPE, JOHN F. V. UNITED STATES

19-712     HAMP'S CONSTRUCTION V. INLAND MARINE SERVICES

19-724     ARAKAKI, KEITH Y. V. BRENNAN, POSTMASTER GEN., ET AL.

19-762     OWNER OPERATOR, ET AL. V. PA TURNPIKE, ET AL.

19-772     DIAZ, ALBERT V. UNITED STATES

19-809     BONIN, MICHAEL V. UNITED STATES

19-5638    LEE, JEFFREY E. V. FLORIDA

19-5889    TORRES-ARROYO, JONATHAN V. NEW JERSEY


                                    3
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20     Page 102 of 110
                              Page ID #:162


19-6094    HERRERA-SEGOVIA, ANDRES V. UNITED STATES

19-6191    K. N., ET UX. V. MT DEPT. OF PUBLIC HEALTH

19-6214    FUQUEN, LUIS V. EVERITT, TRINA

19-6289    MOHR, BRIAN T. V. UNITED STATES

19-6306    MOTA, JONATHAN V. UNITED STATES

19-6320    WILLIAMS, NALEN P. V. UNITED STATES

19-6372    PARSON, KELBY G. V. UNITED STATES

19-6655    MATHIS, TERRENCE L. V. UNITED STATES

19-6657    SMITH, RIKISHA S. V. SCOTT, DR., ET AL.

19-6660    SCHERMERHORN, RONALD F. V. DAVIS, DIR., TX DCJ

19-6681    WILLIS, LOUIS M. V. VIRGIN ISLANDS

19-6690    MAHANY, MOLLY A. V. BUFFALO POLICE DEPT., ET AL.

19-6694    SUNDY, TIM V. CHRISTIAN, MARTHA C.

19-6695    RIGWAN, ILANA V. NEUS, JORDAN L.

19-6713    HORTON, DEREK T. V. COCHRAN, SAM

19-6714    GOODMAN, KEITH D. V. PEARSON, WARDEN

19-6722    LEACH, ROBIN V. UNITED STATES

19-6724    ZARUM, LORIE A. G. V. HOAG MEMORIAL HOSPITAL, ET AL.

19-6727    ANDREWS, TYRONE M. V. NAGY, WARDEN

19-6728    HEREDIA, JOSE A. V. FLORIDA

19-6730    HARINARAIN, CAMERON A. V. KAUFFMAN, SUPT., HUNTINGDON

19-6731    HENRY, TRAVELL V. WARREN, WARDEN

19-6732    IVIE, MARTIN S. V. WASHINGTON

19-6733    DURHAM, GEORGE R. V. SHAPIRO, ATT'Y GEN. OF PA

19-6734    LOPEZ, ARTHUR V. LOPEZ, CHERYL

19-6737    LITTLE, LEONARD L. V. FLORIDA

19-6738    SARRINGAR, WILLIAM A. V. DAVIS, DIR. TX DCJ

19-6741    RAMIREZ, JOSE J. V. BLOOM, JEFFREY C., ET AL.


                                    4
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20      Page 103 of 110
                              Page ID #:163


19-6742    PRIETO, JORGE V. INCH., SEC., FL DOC, ET AL.

19-6743    NELSON, KENNETH D. V. TEXAS

19-6744    MERCK, KEVIN M. V. MN SUPREME COURT, ET AL.

19-6745    PAUL, JOSEPH S. V. FLORIDA

19-6749    JOHNSON, BRYAN K. V. FLORIDA

19-6750    CEASAR, RONNIE R. V. LOUISIANA

19-6754    MEDINA, CESAREO V. V. CALIFORNIA

19-6762    WIMBERLEY, FRED M. V. SACRAMENTO, RACHEL M.

19-6763    WHITE, ANTHONY D. V. FLORIDA

19-6765    McNAIR, ANTHONY L. V. NORTH CAROLINA

19-6767    TRUE, DOUGLAS D. V. KELLEY, DIR., AR DOC

19-6768    VANDERMEULEN, CARY V. LECLAIRE, THOMAS L., ET AL.

19-6770    CHIU, VINCA S. V. FIRST GROUP AMERICA, ET AL.

19-6771    PARR, LARRY W. V. RODRIGUEZ, SIMON E.

19-6777    ANDERSON, IRIS L. V. FLORIDA

19-6779    STEVENS, MITCHELL V. VANNOY, WARDEN, ET AL.

19-6780    KINNEY, DARIUS V. OHIO

19-6782    MALLARD, ADRIENNE V. NEXT DAY TEMPS, ET AL.

19-6787    MITCHELL, ROBERT L. V. MILLER, MAGISTRATE JUDGE, ET AL.

19-6788    ROBLERO, EBER V. FLORIDA

19-6817    WHEELER, ANTHONY M. V. NEAL, SUPT., IN

19-6822    COZZI, GUY V. AMERICAN STOCK EXCHANGE, ET AL.

19-6829    WASHINGTON, LISA V. DELEON, DIANA, ET AL.

19-6861    HENDERSON, TONY L. V. ARKANSAS

19-6867    MAYA, JOSE L. V. DEPT. OF HOMELAND SEC., ET AL.

19-6900    SMITH, ALDON V. WILKIE, SEC. OF VA

19-6935    KING, RICKIE J. V. UNITED STATES




                                      5
Case 2:20-cv-01068-FLA-PVC     Document 12-2 Filed 02/28/20   Page 104 of 110
                                Page ID #:164


19-6936   )   VIGIO-APONTE, PEDRO V. UNITED STATES
          )
19-6947   )   RODRIGUEZ-MARTINEZ, REINALDO V. UNITED STATES

19-6940       PETROSKE, KEVIN J. V. UNITED STATES

19-6941       COLLINS, MICHAEL V. UNITED STATES

19-6948       SPRY, MICHAEL E. V. UNITED STATES

19-6953       DAVIS, DONOVAN G. V. UNITED STATES

19-6960       TULIN, ULRISTE V. UNITED STATES

19-6961       NAVARRO, HERNAN V. UNITED STATES

19-6968       BRUMBACH, BRIAN D. V. UNITED STATES

19-6970       SULLIVAN, MONTY D. V. WYOMING

19-6972       SANCHEZ-MORA, TARSIS G. V. UNITED STATES

19-6973       WIGGINS, TAIWAN, ET AL. V. UNITED STATES

19-6975       BENNETT, JASON L. V. UNITED STATES

19-6995       KING, RICHARD A. V. UNITED STATES

19-6998       KOFALT, PATRICK V. UNITED STATES

19-7006       DRUMMOND, ALVIN A. V. UNITED STATES

19-7008       HERNANDEZ-ZAVALA, ABRAHAM V. UNITED STATES

19-7014       GAFFNEY, GEOFFREY S. V. UNITED STATES

19-7020       GARAY, NAHACH V. UNITED STATES

19-7026       GUY, JAMES W. V. OHIO

19-7034       JOE, CHARLEY V. UNITED STATES

19-7035       LOWRY, MICHAEL B. V. UNITED STATES

19-7038       LEE, ANGELA M. V. UNITED STATES

19-7041       RAMIREZ-RIVERA, PEDRO L. V. UNITED STATES

19-7042       ROSADO, CHRISTIAN V. UNITED STATES

19-7044       FISHER, DARMARCUS V. UNITED STATES

19-7051       REYES-MARTINEZ, ADAN V. UNITED STATES

19-7053       BARNES, JASON D. V. UNITED STATES


                                       6
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20        Page 105 of 110
                              Page ID #:165


19-7056    KINSEY, ROBERT K. V. UNITED STATES

19-7059    SCHIEFER, JOHN K. V. UNITED STATES

19-7062    VILLANUEVA, FLORENTINO V. UNITED STATES

19-7070    TOMEY, GARY R. V. UNITED STATES

19-7072    WALKER, TYRONE V. UNITED STATES

19-7075    ROUSE, MATTHEW V. UNITED STATES

19-7078    THOMPSON, BRAUN N. V. UNITED STATES

19-7083    PERDUE, LEROY L. V. UNITED STATES

19-7084    MORCOMBE, ANDREW H. V. UNITED STATES

19-7090    EVANS, WARREN V. UNITED STATES

19-7092    CARMICHAEL, LAFOREST V. UNITED STATES

19-7098    SHAW, ANTONIO V. UNITED STATES

19-7103    MERRITT, EDWARD V. UNITED STATES

19-7105    VAZQUEZ-CHAVARRIA, MIGUEL J. V. UNITED STATES

19-7106    WOODLEY, PETER V. UNITED STATES

19-7107    PERKINS, JOSEPH T. V. UNITED STATES

19-7115    FAULKNER, ALEXANDER V. UNITED STATES

19-7117    INGRAM, VANCE E. V. UNITED STATES

               The petitions for writs of certiorari are denied.

19-515     AMATO, BALDASSARE V. UNITED STATES

               The petition for a writ of certiorari is denied.       Justice

           Sotomayor and Justice Kagan took no part in the consideration or

           decision of this petition.

19-521     CHARGEPOINT, INC. V. SEMACONNECT, INC.

               The motion of Jeremy C. Doerre for leave to file a brief as

           amicus curiae is granted.       The petition for a writ of certiorari

           is denied.




                                       7
Case 2:20-cv-01068-FLA-PVC     Document 12-2 Filed 02/28/20   Page 106 of 110
                                Page ID #:166


19-6658    SIMMONS, BOOKER T. V. UNITED STATES

19-6670    BRIDGE, MICHAEL V. UNITED STATES

19-6686    HUNTER, DARREN K. V. UNITED STATES

19-6689    FERNANDEZ, FRANK V. UNITED STATES

19-6755    GARCIA-CRUZ, FREDERICK V. UNITED STATES

19-6759    LACKEY, JAMES A. V. UNITED STATES

19-6769    HICKS, STEVEN V. UNITED STATES

               The petitions for writs of certiorari are denied.     Justice

           Sotomayor, with whom Justice Ginsburg joins, dissenting from the

           denial of certiorari:    I dissent for the reasons set out in

           Brown v. United States, 586 U. S. ___ (2018) (Sotomayor, J.,

           dissenting).

                             HABEAS CORPUS DENIED

19-7147    IN RE KHAYREE SMITH

               The petition for a writ of habeas corpus is denied.

                                MANDAMUS DENIED

19-7015    IN RE MICHAEL F. HARRIS

19-7047    IN RE ANTWOYN SPENCER

19-7049    IN RE ANTWOYN SPENCER

               The petitions for writs of mandamus are denied.

19-6726    IN RE BILLIE BYRD

               The petition for a writ of mandamus and/or prohibition is

           denied.

                               REHEARINGS DENIED

19-248     JAMMAL, WALID, ET AL. V. AMERICAN FAMILY INS. CO., ET AL.

19-383     RAIMONDO, JOSEPH V. HOOD, CHIEF JUDGE, ET AL.

19-406     TOUMA, MARILU F. V. GEN. COUNSEL OF REGENTS, ET AL.

19-410     IN RE RICHARD J. FIELDS


                                      8
Case 2:20-cv-01068-FLA-PVC    Document 12-2 Filed 02/28/20   Page 107 of 110
                               Page ID #:167


19-5885    COLLINS, OLUFEMI S. V. GONZALEZ, MARK, ET AL.

19-5914    LASHER, LENA V. STAVIS, ROGER, ET AL.

19-5925    RHODES, KAVIN M. V. SWARTH, PETER C.

19-6074    NELSON, GERALD V. LOCAL 1181-1061, ET AL.

19-6121    IN RE MATTHEW L. STASZAK

19-6231    CHAPMAN, WILLIAM D. V. UNITED STATES

19-6251    IN RE ADIB MAKDESSI

19-6487    DONAHUE, SEAN M. V. PENNSYLVANIA

               The petitions for rehearing are denied.

19-6189    BROWN, LEWIS V. UNITED STATES

               The petition for rehearing is denied.   Justice Kagan took no

           part in the consideration or decision of this petition.

                             ATTORNEY DISCIPLINE

D-3035     IN THE MATTER OF DISBARMENT OF ANGELA M. BLYTHE

               Angela M. Blythe, of Oakland, Maryland, having been

           suspended from the practice of law in this Court by order of

           October 29, 2018; and a rule having been issued and served upon

           her requiring her to show cause why she should not be disbarred;

           and the time to file a response having expired;

               It is ordered that Angela M. Blythe is disbarred from the

           practice of law in this Court.

D-3036     IN THE MATTER OF DISBARMENT OF MICHAEL WILLIAM KWASNIK

               Michael William Kwasnik, of Hollywood, Florida, having been

           suspended from the practice of law in this Court by order of

           October 29, 2018; and a rule having been issued requiring him to

           show cause why he should not be disbarred; and the time to file

           a response having expired;




                                      9
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20      Page 108 of 110
                              Page ID #:168


               It is ordered that Michael William Kwasnik is disbarred from

           the practice of law in this Court.

D-3041     IN THE MATTER OF DISBARMENT OF FRAMPTON DURBAN, JR.

               Frampton Durban, Jr., of Newberry, South Carolina, having

           been suspended from the practice of law in this Court by order

           of October 29, 2018; and a rule having been issued requiring him

           to show cause why he should not be disbarred; and the time to

           file a response having expired;

               It is ordered that is disbarred from the practice of law in

           this Court.

D-3042     IN THE MATTER OF DISBARMENT OF MICAH JARED SMITH

               Micah Jared Smith, of Wilmington, Delaware, having been

           suspended from the practice of law in this Court by order of

           August 5, 2019; and a rule having been issued and served upon

           him requiring him to show cause why he should not be disbarred;

           and the time to file a response having expired;

               It is ordered that Micah Jared Smith is disbarred from the

           practice of law in this Court.

D-3043     IN THE MATTER OF DISBARMENT OF JOHN T. LYNCH, JR.

               John T. Lynch, Jr., of Scottsdale, Arizona, having been

           suspended from the practice of law in this Court by order of

           August 5, 2019; and a rule having been issued requiring him to

           show cause why he should not be disbarred; and the time to file

           a response having expired;

               It is ordered that John T. Lynch, Jr. is disbarred from the

           practice of law in this Court.

D-3045     IN THE MATTER OF DISBARMENT OF BRUCE B. McLEOD, III

               Bruce B. McLeod, III, of Dallas, Texas, having been


                                    10
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20    Page 109 of 110
                              Page ID #:169


           suspended from the practice of law in this Court by order of

           August 5, 2019; and a rule having been issued requiring him to

           show cause why he should not be disbarred; and the time to file

           a response having expired;

               It is ordered that Bruce B. McLeod, III is disbarred from

           the practice of law in this Court.

D-3046     IN THE MATTER OF DISBARMENT OF EPHRAIM CHUKWUEMEKA UGWUONYE

               Ephraim Chukwuemeka Ugwuonye, of Silver Spring, Maryland,

           having been suspended from the practice of law in this Court by

           order of August 5, 2019; and a rule having been issued requiring

           him to show cause why he should not be disbarred; and the time

           to file a response having expired;

               It is ordered that Ephraim Chukwuemeka Ugwuonye is disbarred

           from the practice of law in this Court.

D-3047     IN THE MATTER OF DISBARMENT OF MARC NORMAN SILBERMAN

               Marc Norman Silberman, of Cleveland, Ohio, having been

           suspended from the practice of law in this Court by order of

           August 5, 2019; and a rule having been issued requiring him to

           show cause why he should not be disbarred; and the time to file

           a response having expired;

               It is ordered that Marc Norman Silberman is disbarred from

           the practice of law in this Court.

D-3048     IN THE MATTER OF DISBARMENT OF JERRY STEVEN PACKARD

               Jerry Steven Packard, of Wooster, Ohio, having been

           suspended from the practice of law in this Court by order of

           August 5, 2019; and a rule having been issued and served upon

           him requiring him to show cause why he should not be disbarred;

           and the time to file a response having expired;


                                    11
Case 2:20-cv-01068-FLA-PVC   Document 12-2 Filed 02/28/20    Page 110 of 110
                              Page ID #:170


               It is ordered that Jerry Steven Packard is disbarred from

           the practice of law in this Court.

D-3050     IN THE MATTER OF DISBARMENT OF MARK BRIAN MORAN

               Mark Brian Moran, of Aviston, Illinois, having been

           suspended from the practice of law in this Court by order of

           August 5, 2019; and a rule having been issued and served upon

           him requiring him to show cause why he should not be disbarred;

           and the time to file a response having expired;

               It is ordered that Mark Brian Moran is disbarred from the

           practice of law in this Court.

D-3053     IN THE MATTER OF DISBARMENT OF BEN ELTON BRUNER

               Ben Elton Bruner, of Opelika, Alabama, having been suspended

           from the practice of law in this Court by order of August 23,

           2019; and a rule having been issued requiring him to show cause

           why he should not be disbarred; and the time to file a response

           having expired;

               It is ordered that Ben Elton Bruner is disbarred from the

           practice of law in this Court.




                                    12
